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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN

 Emily Evans and Melanie Welch,

        Plaintiffs,

 vs.                                           Civil Action No.: 3:21-cv-10575
                                               Hon. Robert H. Cleland
 The City of Ann Arbor, et al.

        Defendants, Jointly and Severally.
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  PLAINITFFS’ CORRECTED RESPONSE TO HOWARD & HOWARD ATTORNEYS
   AND BRANDON WILSON’S MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
               PURSUANT TO FED. R. CIV. P. 12 (b)(1)and 12(b)(6)

          Plaintiffs, by and through their attorney Marc M. Susselman, hereby file this

 Response to Defendants Howard & Howard and Brandon Wilson’s Motion To Dis-

 miss Plaintiffs’ Complaint Pursuant To FRCP 12(b)(1) and FRCP 12(b)(6), and state

 as follows:

          The motion should be denied for the reasons set forth in the accompanying

 brief.

          WHEREFORE, Plaintiffs request that the motion to dismiss be denied in its

 entirety.

                                                Respectfully submitted,

                                                  /s/ Marc M. Susselman
                                                Marc M. Susselman
                                                Attorney for Plaintiffs
 Dated: June 17, 2021




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                           QUESTIONS PRESENTED

 1.    WHETHER THE PRINCIPAL WITNESS IN THE STATE COURT TRIAL
       COMMITTED PERJURY, SUBORNED BY HIS ATTORNEY.

       Plaintiffs answer “Yes.”

       Defendants did not address this issue.

 2.    WHETHER THE LAWSUIT IS BARRED BY THE ROOKER-FELDMAN
       DOCTRINE.

       Plaintiffs answer “No.”

       Defendants answer “Yes.”

 3.    WHETHER THE LAWSUIT IS BARRED BY COLLATERAL ESTOPPEL.

       Plaintiffs answer “No.”

       Defendants answer “Yes.”

 4.    WHETHER PLAINTIFFS HAVE ADEQUATELY PLED A CLAIM
       UNDER 42 U.S.C. §1983

       Plaintiffs answer “Yes.”

       Defendants answer “No.”

 5.    WHETHER PLANITFFS HAVE ADEQUATELY PLED A CIVIL
       CONSPIRACY CLAIM.

       Plaintiffs answer “Yes.”

       Defendants answer “No.”




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 6.    WHETHER PLAINTIFFS HAVE ADEQUATELY PLED A STATUTORY
       CONVERSION CLAIM.

       Plaintiffs answer “Yes.”

       Defendants answer “No.”

 7.    WHETHER PLAINTIFFS HAVE ADEQUATELY PLED A CLAIM FOR
       INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS.

       Plaintiffs answer “Yes.”

       Defendants answer “No.”




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                             PRELIMINARY STATEMENT

       At the center of this lawsuit is Plaintiffs’ contention that the principal witness

 for the plaintiffs in the underlying lawsuit in the Washtenaw County Circuit Court,

 Defendant Douglas Selby, committed perjury, and that the perjury was suborned by

 his then attorney, Defendant Brandon Wilson. Plaintiffs maintain that the fact that

 Selby committed perjury, suborned by Wilson, is irrefutably demonstrated by docu-

 ments which have been attached to the Complaint, and are attached to this Response,

 and by Selby’s testimony at trial which contradicted the documents in question. One

 of the documents is a Stipulation which Selby signed as part of a Consent Order to

 settle a complaint which Plaintiff Evans had filed with the Michigan Department Of

 Licensing And Regulatory Affairs (“MDLARA”). In that Stipulation, which Selby

 signed “approved as form and substance,” Selby admitted that the five-page docu-

 ment which he claimed constituted the contract between Evans and Selby’s business,

 Defendant Meadowlark Builders, LLC, violated Michigan law. As such, under

 Michigan law the document was void and unenforceable.

       In addition, in the Stipulation Selby agreed that certain change orders which

 he claimed were also part of the contract with Evans, also violated Michigan law,

 and were therefore, in turn, void and unenforceable. Wilson knew that Selby had

 signed this Stipulation, “approved as to form and substance.” Yet, at the trial, Wil-

 son asked Selby to identify the five-page document as the contract between Evans


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 and Meadowlark, a contract which Selby claimed Evans had breached. Wilson also

 had Selby identify the change work orders, which he testified Evans had approved

 and were therefore also part of the contract, testimony which likewise contradicted

 the Stipulation Selby had signed. The five-page document and the change work

 orders were marked and admitted as trial exhibits, and formed the basis for the

 court’s conclusion that Evans had breached the contract, and was the basis for the

 court’s defaulting Evans and entering a judgment against her.

       Since the judgment was obtained by virtue of the perjury by Selby, and sub-

 ornation of perjury by Wilson, that judgment was void ab initio, and Plaintiffs re-

 quest that this Court so rule. It is from this void judgment, obtained by the plaintiffs

 in the underlying lawsuit by committing a fraud on the trial court via perjury, that

 all of the other claims against the Defendants arise. It is notable that nowhere in

 their brief do the Defendants address the perjury and subornation of perjury issue,

 which is the independent basis for this lawsuit being filed in federal court under 42

 U.S.C. §1983. This is the most critical issue ins this case, yet Wilson and Howard &

 Howard have chosen ot ignore it. Plaintiffs expressly referred to the commission of

 perjury in in the first sentence of the Preliminary Statement of the Complaint, and

 again in ¶s 84, 86, 89, 114, 141, 144, 150, and 173. Instead of addressing the issue

 of perjury, however, Defendants seek to obfuscate this issue by addressing only other

 forms of fraud on the court referred to in the Complaint– e.g., that Selby claimed the


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 insulation work had been done, when the evidence demonstrates it was not – and

 argue that since these issues were rejected by the Court of Appeals in its decision

 denying Evans’ pro se appeal, that Plaintiffs are collaterally estopped from arguing

 the Judgment was obtained by a fraud on the court. However, the most serious fraud

 on the court was the perjury committed by Selby, suborned by Wilson, an issue

 which was never addressed by the Michigan Court of Appeals or by the Michigan

 Supreme Court, because Evans was not represented by an attorney during the trial,

 and therefore no objection to the testimony which constituted the perjury was made,

 and consequently could not be raised on appeal.

       Contrary to defense counsels’ arguments, these claims are not precluded by

 the Rooker-Feldman or collateral estoppel doctrines. The case law is clear that the

 Rooker-Feldman doctrine does not apply to judgments obtained by the commission

 of a fraud upon the trial court in the form of perjury or the subornation of perjury.

 Likewise, collateral estoppel does not apply to Plaintiffs’ claims because the ques-

 tions of whether Selby and Wilson committed perjury and the subornation of perjury,

 and thereby committed a fraud upon the court, have never been addressed or adjudi-

 cated by the Michigan Court of Appeals or the Michigan Supreme Court. Therefore

 collateral estoppel cannot preclude these issues from being raised in federal court.

                         COUNTER-STATEMENT OF FACTS

       Emily Evans purchased a house (hereinafter “Home”) located at 1513


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 Brooklyn Ave., Ann Arbor, Michigan, on August 6, 2015. She contacted Amica Mu-

 tual Insurance Company (“Amica”) in order to purchase homeowner’s insurance.

 Amica informed her that in order to obtain a homeowner’s policy she would need to

 show written proof that all active knob and tube wiring had been removed from the

 Home, since such wiring in older homes was considered a fire hazard.

       Evans contacted Meadowlark Builders, LLC, and was directed to speak with

 Dave Anderson, Meadowlark’s client account manager. Evans informed Anderson

 of Amica’s requirement and he recommended that Evans contact Michigan Quality

 Electric (“MQE”). Evans contacted MQE and spoke to David Giles. Giles inspected

 the Home and advised Evans that knob and tube wiring was present throughout the

 entire Home. He provided Evans with an Electrical Proposal on August 25, 2015,

 which called for a variety of electrical work and upgrading at the Home.

       Because Evans was in poor health and recovering from a traumatic head in-

 jury, her mother, Plaintiff Melanie Welch, assumed the responsibility of identifying

 contractors and overseeing their work. After receiving the electrical proposal from

 Giles, Welch contacted Anderson regarding repairing the walls once the electrical

 work at the Home had been completed. They agreed that Meadowlark would repair

 the walls once the electrical work was completed. Anderson advised Welch that it

 would be a good idea to install insulation in the walls and attic at the time the walls

 were being repaired, and Welch agreed.


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       On November 23, 2015, Anderson sent an email to Evans with a proposal for

 the renovations they had discussed. At the end of the email, Anderson stated: “Let

 me know if you have any questions. We need 50% deposit to get the work scheduled,

 and the rest after completion when you are satisfied.” (Emphasis added.) (Email

 attached hereto as Exhibit 1.) On November 25, 2015, Evans signed a one-page con-

 tract with Meadowlark for all the electrical and insulation work to be done for a fixed

 price contract sum of $50,893. The one-page contract she signed did not include any

 limitations on the scope of the electrical work. (See Evans’ Affidavit with one-page

 contract attached, Exhibit 2; Evans’ deposition transcript, pp. 49-61, attached as Ex-

 hibit 3.) The contract required that Evans pay an up-front deposit of $25,446.00,

 before any of the work had started. Evans gave Meadowlark a check in that amount.

       As Meadowlark’s employees and sub-contractors began doing the home im-

 provement work, Evans and Welch started complaining to Meadowlark and its CEO,

 Douglas Selby, regarding the quality of the work. As Evans and Welch continued

 to complain, on February 18, 2016, Selby ordered that his employees and sub-con-

 tractors cease their work. (See pp. 73-74 of the trial transcript, attached hereto as

 Exhibit 4.) They walked off the job, leaving the work incomplete, with jagged wir-

 ing hanging out of the walls throughout the Home.

       Meadowlark informed Evans and Welch it would not return to the Home to

 complete the work until Evans paid what Meadowlark claimed was the balance due


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 under the contract, in the amount of $27,918.00. This amount exceeded the contract

 price which Meadowlark had indicated was the total price for the work it was con-

 tracting to perform ($50,893.00), minus the $25,446.00 Evans had paid as a deposit.

 This was contrary to Anderson’s assertion in his November 23, 2015, email that the

 balance of the contract would not be due until “completion when you are satisfied.”

       When none of the Meadowlark employees had returned to the Home for over

 two weeks to complete the work, Evans sent Meadowlark a letter on or about March

 7, 2017, in which she listed all of the deficiencies in Meadowlark’s work and indi-

 cated that she was terminating the contract. (See letter attached as Exhibit 5.) Evans

 had to hire a different electrical contractor to obtain a new permit to complete the

 electrical work on the Home.

       On April 4, 2016, Wilson sent Evans a letter charging her with breaching the

 contact and demanding payment of what he claimed was the outstanding balance in

 the amount of $27,918.00. (See letter attached hereto as Exhibit 6.) Attached to the

 letter was a Sworn Statement, sworn and attested to by Selby, which purported to

 list and itemize the work which Meadowlark claimed it had completed on the Home,

 and the price being charged for each item of work. The Sworn Statement listed In-

 sulation, in the amount of $7,820.00, of which it claimed $3,910.00 was still owed.

 It also listed Electrical, in the amount of $31,550.00, of which it claimed $15,888.00

 was still owed. Also attached to the letter was a Claim of Lien, signed by Selby,


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 which Meadowlark had filed with the Register of Deeds, claiming a lien on the Home

 in the amount of $27,918.00. Following the Claim of Lien was a First Amended

 Claim of Lien signed by Selby and claiming that the construction lien amount was

 $25,447.00, rather than $27,918.00.

       On April 20, 2016, Meadowlark filed a Complaint in the Washtenaw Circuit

 Court against Evans alleging breach of contract and foreclosure of a construction

 lien. The lawsuit was assigned to Judge Connors. Meadowlark attached four exhibits

 to the Complaint. (See Complaint, attached as Exhibit 7.) The first exhibit was a

 document Meadowlark claimed was the contract between it and Evans. The pur-

 ported contract consisted of the one-page contract which Evans had signed on No-

 vember 25, 2015, plus four additional pages which were not attached to the contract

 which Evans had signed. The other three exhibits were the First Amended Claim of

 Lien; Proof of Service of Claim of Lien; and a Lis Pendens filed on April 20, 2016.

       On August 8, 2016, Evans’ then attorney, Joshua Castmore, filed an Answer

 to the Complaint, with a jury demand, as well as a Counter-Complaint And Third

 Party Complaint. The Counter-Complaint contained five counts for unjust enrich-

 ment; breach of implied covenant of good faith and fair dealing; civil conspiracy;

 and negligence. On August 26, 2016, Meadowlark filed a motion for summary dis-

 position. The Court held a hearing on October 13, 2016, and granted the motion to

 dismiss with the exception of the claim of unjust enrichment.


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       Evans filed a complaint regarding Meadowlark with the Michigan Department

 of Licensing and Regulatory Affairs (“MDLARA”). On December 27, 2016, the

 MDLARA issued a Formal Complaint against Meadowlark and Selby. (Copy at-

 tached as Exhibit 8.) The Complaint contained four counts. The First Count asserted

 that Meadowlark had violated the Michigan Administrative Code. R. 338.1533(1),

 by failing to put all agreements between it and Evans in writing and have all agree-

 ments signed by both parties. The Second Count asserted that the contract had been

 procured by a salesperson who was not licensed as a builder or contractor, in viola-

 tion of Michigan Administrative Code R. 338.1536. The Third Count asserted that

 Meadowlark had violated the Code by aiding and abetting a person in the unlicensed

 practice of an occupation. The Fourth Count asserted that Meadowlark’s conduct

 had evidenced a willful departure from, and disregard of, plans or specifications in

 a material respect, violating Code §2411(d). Attached to the Complaint as Exhibit

 A was the one-page contract which Evans had signed, plus four “Scope of Work”

 pages which had not been provided to Evans, and which were not part of the contract.

 Attached to the Complaint as Exhibit B were three work change orders which

 MDLARA asserted Meadowlark had “failed to provide copies of the change orders

 to Homeowner that were signed by both parties.”

       On June 13, 2017, a Consent Order was entered with respect to the Formal

 Complaint which had been issued by the MDLARA. (Copy of Consent Order is


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 attached as Exhibit 9.) The Consent Order stated, in relevant part:

              Respondents [Meadowlark and Selby] admit the allegations in
       the Complaint, with the exception of Counts III and IV, which Re-
       spondents deny and shall be dismissed. The Michigan Board of Resi-
       dential Builders and Maintenance and Alteration Contractors has re-
       viewed this Consent Order and Stipulation and agrees that the public
       interest is best served by resolution of the outstanding Complaint.

              Therefore, IT IS FOUND that the facts alleged in the Complaint
       constitute violation(s) of MCL 338.604(h) and MCL 339.604(l).

           IT IS ORDERED that Counts III and IV of the Complaint are
       DISMISSED.

       The Stipulation attached to the Consent Order was executed by Meadowlark

 and Selby on April 21, 2017. The Stipulation stated, in relevant part:

              1.   Respondent and the Department agree that Counts III and
       IV of the Complaint shall be dismissed by the Board.

              2.    The facts alleged in the Complaint constitute viola-
       tion(s) of MCL 339.604(h) and MCL 339.604(l).
              3.    Respondents understand and intend that by signing this
       Stipulation Respondents are waiving the right, pursuant to the Occupa-
       tional Code, the rules promulgated thereunder, and the Administrative
       Procedures Act, MCL 24.201 et seq., to require the Department to
       prove the charges set forth in the Complaint by presentation of evidence
       and legal authority, and Respondents are waiving the right to appear
       with an attorney and such witnesses as Respondents may desire to pre-
       sent a defense to the charges.
              ….
              6.    This Order is approved as to form and substance by Re-
       spondents and the Department and may be entered as the final order of
       the Board in this matter. (Emphasis added.)




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 Meadowlark’s and Selby’s attorney, Brandon Wilson, was aware of the entry of the

 Consent Order and of Selby’s Stipulation as to form and substance.1

       Meadowlark had filed a motion for leave to file a First Amended Complaint

 to add a claim for unjust enrichment on June 8, 2017. On June 30, 2017, Evans filed

 a motion for leave to file a First Amended Counter-Complaint which proposed to

 add fraud claims against Meadowlark. On July 13, 2017, the court held a hearing on

 both motions and granted Meadowlark’s motion, but denied Evans’ motion. The

 court entered an Order granting Meadowlark the right to amend, and denying Evans

 the right to amend, on July 14, 2017. (Copy attached as Exhibit 11.)

       Meadowlark then filed Plaintiff’s First Amended Complaint (“FAC”), which

 continued to plead breach of contract, and contained the additional unjust enrichment

 count. (Copy of First Amended Complaint attached hereto as Exhibit 12.) In ¶8 of

 the FAC, Meadowlark alleged that Evans had agreed to pay it $50,893. In ¶9, Mead-

 owlark alleged, “Defendant subsequently agreed to pay Plaintiff to perform addi-

 tional work on the Project in the amount of $2,471 (the “Extras Contract”). The

 Original Contract and the Extras Contract are referred to together as the ‘Contract.’”


 1
  On p. 5, Defendants state that “LARA proposed to resolve the administrative com-
 plaint ‘with a Consent Order and payment of a fine, without an admission of guilt
 on any counts.’” This statement is misleading. The proposal was included in an
 email which the MDLARA sent to Selby on March 17, 2017. (Copy attached as
 Exhibit 10) However, no such disclaimer was included in the final Consent Order
 or in the Stipulation, which Selby agreed to as to “form and substance,” thereby
 constituting an admission of guilt.
                                          10
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       In making this allegation, Meadowlark and Wilson were committing a fraud

 on the court, because it was precisely the additional amount for additional work

 which the MDLARA had charged Meadowlark and Selby with violating Michigan

 law in Count I of the Formal Complaint, and had attached the change orders charging

 those additional amounts to the Compliant which Evans had not seen and had not

 agreed in writing to pay for, and as to which Selby had signed a Stipulation ac-

 knowledging that the allegations in Count I of the Formal Complaint were true

 which stated that those charges, and the purported contract encompassing

 them, were unlawful. Meadowlark again committed fraud on the court by attaching

 to the FAC as Exhibit A the one-page contract which Evans had signed, plus the four

 additional pages itemizing the exclusions to the scope of work, pages which were

 not presented to Evans when she signed the one-page contract, and which the

 MDLARA had included in its Count I as violating Michigan law, and which

 again Selby had agreed violated Michigan law when he signed the Stipulation.2

       On September 13, 2017, Wilson filed a motion in limine to exclude a number

 of documents from being offered as evidence in the upcoming trial. Included among

 the documents, Wilson requested that Evans’ attorney be precluded from offering as


 2
  Attached to the FAC as Exhibit B was the First Amended Claim of Lien, which
 was for less money than the original Claim of Lien, since it deducted the amount of
 $2,471.00 which had been included in the original Claim of Lien for work which
 Meadowlark claimed Evans had agreed to orally. The balance due under the First
 Amended Claim of Lien was $25,447.00.
                                         11
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 evidence either the MDLARA Complaint against Meadowlark, or the Consent Order

 and Selby’s signed Stipulation. Both of these documents were attached to the motion

 as Exhibits G and I. (See copy of motion, attached as Exhibit 13.) Evans’ then

 attorney, Joshua Castmore, did not file a response opposing the motion. Judge Con-

 nors granted the motion. (See Order attached as Exhibit 14.)

       On September 28, 2017, Castmore attorney filed an Emergency Motion To

 Withdraw As Counsel. (Copy attached as Exhibit 15.)3 Attached to the motion was

 an email from Evans terminating Castmore. Castmore requested the court grant his

 motion to withdraw and afford “Evans a reasonable amount of time to either retain

 new counsel or to prepare to represent herself in Pro Per.” On that same date, Evans

 filed an Emergency Motion To Update Court Records As Of This Date to Show that

 Emily Evans Is Representing Herself. (Copy of motion attached as Exhibit 16.)4

       Judge Connors did not rule on either motion. On the date of trial, October 2,


 3
   On p. 6, Defendants erroneously assert that Castmore did not file a motion to with-
 draw. Plaintiffs asserted that the motion was filed in ¶88 of the Complaint, and a
 copy of the motion was attached to the Complaint as Exhibit 32. “We recognize the
 inclination of litigants to present the facts in the light most favorable to them. How-
 ever, there is a line between zealous argument and outright disingenuity. That line
 should not be overstepped.” Brucar v. Rubin, 638 F.2d 987, 990, note 3 (7th Cir.
 1980).
 4
   In point of fact, Castmore had told Evans that he wanted to withdraw from repre-
 senting her because he did not have sufficient time to prepare for the trial. He told
 Evans that the only way Judge Connors would allow him to withdraw was if Evans
 sent him an email terminating him. (See email from Castmore explaining Evans has
 to fire him in order for Judge Connors to allow him to withdraw, attached as Exhibit
 17.) Evans accordingly sent Castmore an email terminating him, as requested.
                                           12
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 2017, neither Castmore nor Evans appeared. Welch was in the courthouse and was

 informed that Judge Connors was going to adjourn the trial so Evans could retain a

 new attorney. (See ¶82 of the Complaint.) When Judge Connors took the bench,

 however, he remarked that this was the date and time set for the jury trial and the

 only people present were the Plaintiff, Plaintiff’s attorney, and court staff. (See Ex-

 hibit 4. p. 4.) He then made a remark about a relative of the Defendant making com-

 munications in the building “in forms of emails and personal appearance, who is not

 the attorney of record and is not the plaintiff but is a relative of the plaintiff [sic],”

 referring to Welch, who was in the courtroom and was observing the proceeding. He

 proceeded to note that he had not discharged the Defendant’s attorney, who was not

 present, nor was the Defendant. (Id. at 4-5) He then stated, Exhibit 4, p 5:

              My suggestion, counsel, is, given the rather unusual and unor-
       thodox communications that have been taking place, most recently, but,
       frankly, throughout this trial and throughout these proceedings, is that
       we pick a jury, that you present your proofs. I do not know if the lawyer
       will show up. If they do, they’ll have their right to cross-examine any
       witnesses that you bring.

              When you rest your case, I’ll see if there’s any defendant here to
       put something forward. If not, of course, I would suspect you’d move
       for a directed verdict.

              I say this because I don’t think that this is over, okay.

              So are we ready to proceed with the jury?

       This obviously took Wilson by surprise, because he was under the impression

 that the trial was going to be adjourned and he responded, id. at 5:
                                            13
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             MR. WILSON:         Yes, Your Honor. I do need to contact two
       witnesses–
             THE COURT:          Okay.

             MR. WILSON: -- who I indicated should not appear, based upon
       what I was told before you took the bench.

              THE COURT:         Okay.

              MR. WILSON: So I need to contact them and, obviously, see
       if they can come back. (Emphasis added.)

       The trial resumed and a jury was selected. When Wilson called Selby to tes-

 tify, he asked Selby if there were exclusions in “your contract, Exhibit 4?” which

 had previously been identified by Anderson as the contract between Meadowlark

 and Evans. Selby testified that the contract excluded electrical work on the kitchens

 and bathrooms, “because they were previously remodeled.” (Exhibit 4, pp. 60-61)

 He asked Selby about work on the lower bathroom and garage, all of which Selby

 testified were excluded based on exclusions in Exhibit 4. But Exhibit 4 was not the

 contract Evans had signed. It was the five-page document which Selby had acknowl-

 edged violated Michigan law by signing the Stipulation as part of the settlement with

 the MDLARA, all of which Wilson knew, thereby suborning perjury by Selby.

       Wilson proceeded to ask Selby to identify various change orders for work that

 he claimed was not included in the original contract and which he claimed Evans

 was refusing to pay for. (Exhibit 4, pp. 67-74). But all of the change orders which

 Selby accused Evans of not paying for were included in Exhibit B of the MDLARA


                                          14
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 Formal Complaint, which the MDLARA charged in Count I of the Complaint also

 violated Michigan law because Evans had not signed them. Selby conceded this

 point by signing the Stipulation “as to form and substance.” Yet Wilson, knowing

 this, offered the change orders as evidence of work which was part of the contract

 and which Evans was refusing to pay for, again committing fraud on the court and

 suborning perjury by Selby.

       Wilson proceeded to ask Selby to identify the claim of lien which he had filed

 with the Register of Deeds. (Exhibit 4, p. 83) But this was the claim of lien which

 included charges for the additional change orders which the MDLARA had charged

 violated the law, and which Selby had stipulated violated the law. Moreover, the

 claim of lien had been replaced by the First Amended Claim of Lien, which was the

 only lien which Wilson had attached to the FAC, which had deleted those charges,

 and which was at this stage in the litigation the only lien which Meadowlark would

 have had a basis to collect on. By offering as evidence the Original Lien, rather than

 the corrected First Amended Lien, Wilson committed another fraud on the court.

       At the close of the proofs, Judge Connors entered a default against Evans on

 the breach of contract claim, and a directed verdict on her Counter-Complaint. He

 entered the Judgment on October 30, 2017, which Wilson had drafted. (A copy of

 the Judgment is attached as Exhibit 18.) The Judgment stated the Plaintiff had placed

 proofs on the record in support of its claims for breach of contract and foreclosure


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 of its Claim of Lien pursuant to the Michigan Construction Lien Act. This assertion

 was false, and constituted another fraud on the court, since the contract which Selby

 had identified and entered in the record as the contract was not the contract Evans

 signed, but the five-page contract which the MDLARA had determined violated

 Michigan law, a determination which Selby had stipulated was true and accurate,

 and which therefore rendered the contract void and unenforceable under Michigan

 law, and accordingly could not be breached. Likewise, the Claim of Lien pursuant

 to which the court granted a construction lien was not the lien upon which Meadow-

 lark had sought relief, because it was not attached to the FAC and had been replaced

 by the First Amended Claim of Lien, and therefore the construction lien was not

 granted pursuant to the Michigan Construction Lien Act, which it violated.

       The Judgment awarded Meadowlark damages for breach of contract in the

 amount of $27,918.00, which constituted another fraud on the court, since that

 amount was the amount specified as being due in the original Claim of Lien, which

 included charges for the change orders, which the MDLARA had determined also

 violated Michigan law and which Selby stipulated violated Michigan law, and were

 therefore void and unenforceable under Michigan law. Those charges had in fact

 been omitted from the First Amended Claim of Lien because, as stated in the First

 Amended Claim of Lien, “The original claim of lien is amended as follows: The

 lien claimant’s contract amount, including extras, is $53,364.00. $2,471.00 in extras


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 were contracted for orally and therefore are not included in this construction

 lien.” (Emphasis added.) Because they were contracted for orally, they violated the

 Statute of Frauds. The Judgment assessed another $26,758.00 in attorney fees, and

 $420.27 in costs. The total money judgment was in the amount of $55,096.27, a

 Judgment which is, and was, void and unenforceable because it was obtained by

 multiple frauds on the court, including Selby’s perjury, suborned by Wilson.

       Evans, acting pro se, filed a Claim of Appeal with the Michigan Court of Ap-

 peals. On February 5, 2019, the Court issued an unpublished decision denying the

 appeal. (Copy of decision attached as Exhibit 19.) The Court denied the appeal in

 large part because Evans, not being an attorney, failed to cite any case authority in

 support of her arguments. Evans then retained an attorney (not the undersigned) to

 file an application for leave to appeal with the Michigan Supreme Court (The same

 attorney is currently representing Evans in a legal malpractice lawsuit against Cast-

 more.) The Michigan Supreme Court denied the application on November 26, 2019.

       On April 3, 2018, Wilson filed a Request And Writ For Garnishment with

 Evans’ employer, the University of Michigan. (See Request attached as Exhibit 20.)

 Evans filed an Objection to the periodic garnishment with the court on May 1, 2018,

 on the basis that disability benefits are exempt from garnishment under Michigan

 law. (See copy of Objection with some exhibits omitted, attached as Exhibit 21.)

 Evans contacted the Legal Services of South Central Michigan (“LSSCM”), which


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 filed a brief in support of the Objection. (See First Amended Brief attached as Ex-

 hibit 22.) Wilson filed a Response, arguing that the Objection had not been timely

 filed. (Response attached as Exhibit 23.) The LSSCM filed a Response, contesting

 Wilson’s arguments. (Response attached as Exhibit 24.) On July 18, 2017, the court

 entered an Order discontinuing the garnishment. (Order attached as Exhibit 25.)

 However, Meadowlark did not voluntarily restore the disability payments which it

 had unlawfully taken from Evans. Consequently, it was necessary for the LSSCM

 to file a motion on November 5, 2018, to compel Meadowlark to return the funds it

 had unlawfully confiscated. (See Verified Motion For Return Of Funds Exempt

 From Garnishment, minus exhibits, attached as Exhibit 26.) The LSSCM withdrew

 the motion on December 11, 2018, when Meadowlark agreed to repay Evans the

 money it had illegally taken. However, Meadowlark did not pay Evans interest on

 the payments which it had taken.

       Wilson then arranged for a sheriff’s sale of the Home to take place on July 11,

 2019, to pay off the construction lien in the amount of $27,918.00. Meadowlark had

 placed a bid to purchase the house for the amount of the construction lien. On July

 10, 2019, Evans was able to borrow enough money to pay off the construction lien

 and stop the sheriff’s sale, using two cashiers checks. One of the checks, in the

 amount of $25,447.00, was money Evans borrowed from Welch. The other check

 in the amount of $2,471.00 was drawn on Welch’s account.


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       Wilson and Evans’ then attorney arranged for Evans to deliver the payment to

 Meadowlark at Meadowlark’s office. However, when Evans and Welch went to the

 Meadowlark’s office to deliver the two cashiers checks, Meadowlark’s staff would

 not allow them in. (See Complaint, ¶95.) Tina Roperti, Meadowlark’s Administra-

 tive & HR Director, left the office by a rear door and got into her car to leave. Welch

 approached the car to hand Roperti the two checks to pay off the construction lien,

 but Roperti would not accept the checks and tossed them out her car window, and

 then began to close her car window on Welch’s hand. The car window scraped

 Welch’s hand as she tried to remove it from the moving window.

       Roperti then called 911 and asked police to come to the Meadowlark office.

 Evans called the Washtenaw County Sheriff’s Office and asked that a deputy sheriff

 be dispatched to Meadowlark’s office. Two deputy sheriffs arrived and Evans and

 Welch explained the situation to them, indicating they were trying to deliver two

 checks to pay off the construction lien to avoid the foreclosure sale of the Home the

 next day. One of the deputies took the checks and was allowed to enter the office to

 deliver them, as a group of Meadowlark’s employees were in the office laughing.

 The office manager accepted the checks, but stated that their attorney, Wilson, had

 instructed them not to give Evans a receipt. The office manager asked the deputy to

 issue a trespass notice to Evans and Welch, ordering them not to come back unto

 Meadowlark’s property for a year. The deputy exited the office, prepared the


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 Trespass Notice and handed it to Welch. (Plaintiffs have a copy of the deputy’s body

 cam recording of these events.)

       On July 30, 2019, Wilson moved to have a receiver appointed over Evans’

 property in order to generate monies to pay off the balance of the Judgment, which,

 since the construction lien had been paid, consisted solely of Wilson’s attorney fees

 and costs, plus interest. On August 8, 2019, Judge Connors entered an Order ap-

 pointing Matthew Krichbaum as receiver. (See Order, attached as Exhibit 27.)5

 Krichbaum than requested leave of the court to list another house for sale which

 Evans owned, located at 1701 Hatcher Crescent, Ann Arbor. Judge Connors granted

 Krichbaum’s request. In order to prevent the sale of her home on Hatcher Crescent,

 Evans applied for a loan at the University of Michigan Credit Union to pay off the

 Judgment. On September 21, 2020, the Credit Union approved her loan for the exact

 amount of the Judgment. The payment was delivered to Meadowlark on December

 23, 2020, just in time to prevent Evans’ home from being sold.



 5
   At the hearing, Judge Connors made the following statement on the record regard-
 ing Welch: “The statements that have been made, the behavior that has been exhib-
 ited by your client’s mother, demonstrate to me that I cannot count on [her] repre-
 sentations as being truthful or motivated by an attempt to resolve the dispute.”
 (Hearing Transcript, p. 10, attached as Exhibit 28.) Welch was not even present in
 the courtroom as a witness, and had never testified at any hearing presided over by
 Judge Connors. Yet her claims of fraudulent conduct by Meadowlark and Selby,
 regarding the failure to insulate the walls, for example, have turned out to be accu-
 rate, while Judge Connors has been willing to believe Selby, who committed perjury,
 and Wilson, who suborned the perjury.
                                          20
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       On April 1, 2021, after this lawsuit was filed, Krichbaum filed his Notice of

 Filing Final Report, in which he claimed that Evans owed him $21,835.33 and re-

 quested that Judge Connors impose a judgment lien on Evans’ property for that

 amount. (See copy of Notice attached as Exhibit 29.) Krichbaum then filed a motion

 to have the Final Report approved by Judge Connors. Evans filed a Response op-

 posing the motion. (See Response, attached as Exhibit 30.) Evans also filed a mo-

 tion for recusal of Judge Connors and a motion for stay, scheduled to be heard on

 April 15. In her Response, Evans informed the court of the perjury and subornation

 of perjury which had been committed at the trial, and argued that the Judgment was

 therefore void ab initio, that the receivership should not have been created, and that

 therefore Krichbaum was not entitled to recover any of his attorney fees from Evans.

 Evans stated that, instead, Krichbaum should recover his fees by filing a cross-claim

 against Meadowlark, Selby and Wilson in this lawsuit, by virtue of whose fraud on

 the court the void Judgment was obtained, resulting in his appointment as Receiver.

       During the hearing, Judge Connors denied the motion for recusal and then cut

 Evans’ attorney off and would not allow him to argue the motion for a stay. (See

 hearing transcript attached as Exhibit 31, p. 19.) Judge Connors granted Krich-

 baum’s motion to approve his Final Report and granted him a continuing judgment

 lien on all of Evans’ real property. (See Order, attached as Exhibit 32.) Evans has

 filed an Application For Leave To Appeal regarding this Order in the Michigan


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 Court of Appeals, which is currently pending.

       On May 25, 2021, Krichbaum filed a motion requesting that Judge Connors

 approve additional attorney fees associated with his filing an Answer opposing Ev-

 ans’ Application For Leave To Appeal to the Michigan Court of Appeals. (See mo-

 tion attached as Exhibit 33.) He has also requested that the court grant him a lien on

 any recovery which Evans may obtain in her legal malpractice lawsuit against Cast-

 more. Evans filed a Response opposing the motion, arguing that Judge Connors

 does not have jurisdiction to award attorney fees for Krichbaum’s responding to an

 application for leave to appeal filed in the Michigan Court of Appeals, and that any

 potential recovery from the legal malpractice lawsuit is not part of Evans’ estate over

 which Krichbaum has authority. (See Response, attached as Exhibit 34.) The mo-

 tion was heard on June 17, 2021. Judge Connors granted Krichbaum’s motion.

                                        ARGUMENT

                                STANDARD OF REVIEW

       Defendants are raising a facial challenge to the Court’s subject matter juris-

 diction pursuant to Fed. R. Civ. P. 12(b)(1), and maintain pursuant to Fed. R. Civ.

 P. 12(b)(6)that Plaintiffs have failed to state any cognizable claim for relief in any

 of the claims pled against them in the Complaint. With respect to the facial challenge

 to the Court’s subject matter jurisdiction, the standard of review has been set forth

 in Constitution Party of Pennsylvania v. Aichele, 757 F.3d 347 (3d Cir. 2014), as


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 follows, id. at 358:

       In reviewing a facial attack, “the court must only consider the allega-
       tions of the complaint and documents referenced therein and attached
       thereto, in the light most favorable to the plaintiff.” ... Thus, a facial
       attack calls for a district court to apply the same standard of review it
       would use in considering a motion to dismiss under Rule 12(b)(6), i.e.,
       construing the alleged facts in favor of the nonmoving party. ... This is
       in marked contrast to the standard of review applicable to a factual at-
       tack, in which a court may weigh and “consider evidence outside the
       pleadings.” ...

       The District Court here construed the Aspiring Parties’ motion to dis-
       miss as a “factual attack” and said that, “to the extent that certain of the
       plaintiffs’ jurisdictional allegations are challenged on the facts, those
       claims receive no presumption of truthfulness.” ... That was error. The
       Commonwealth filed the attack before it filed any answer to the Com-
       plaint or otherwise presented competing facts. Its motion was therefore,
       by definition, a facial attack. ... (Citations omitted.)

       Since Defendants filed their motion prior to answering, the motion constitutes

 a facial challenge. They are precluded from relying on information or documents

 outside the pleadings in challenging the Court’s subject matter jurisdiction.

       The standard of review for a motion brought pursuant to Fed. R. Civ. P.

 12(b)(6) was set forth in Directtv, Inc. v. Tyreesh, 487 F.3d 471 (6th Cir. 2007), as

 follows, id. at476:

       “[A] Rule 12(b)(6) motion should not be granted unless it appears be-
       yond doubt that the plaintiff can prove no set of facts in support of his
       claim which would entitle him to relief.” … In reviewing a motion
       to dismiss, we construe the complaint in the light most favorable to
       the plaintiff, accept its allegations as true, and draw all reasonable
       inferences in favor of the plaintiff. … The defendant has the burden
       of showing that the plaintiff has failed to state a claim for relief. …
       While all the factual allegations of the complaint are accepted as true,
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       “we need not accept as true legal conclusions or unwarranted factual
       inferences.” … (Emphasis added; citations omitted.)
 I.    THE ROOKER-FELDMAN DOCTRINE DOES NOT APPLY TO THIS
       LAWSUIT AND DOES NOT DEPRIVE THE COURT OF
       JURISDICTION.

       A.     It Is Indisputable Selby and Wilson Committed A Fraud On The
              Court By Committing Perjury And The Subornation Of Perjury.

       The ineluctable fact in this lawsuit is that Selby committed perjury, and Wil-

 son suborned Selby’s perjury, in a trial conducted before Judge Connors, a trial in

 which Judge Connors proceeded to hold a jury trial when Evans’ attorney failed to

 appear and in which he had not granted Evans’ motion to represent herself. Since he

 stated on the record Mr. Castmore was still the attorney of record, Evans had no right

 under the court rules to represent herself. Moreover, even if she had appeared at the

 trial, there was nothing she could have done to protect herself against the misrepre-

 sentations and perjury committed by Selby, suborned by Wilson – she had no right

 to object, no right to call witnesses in her defense, no right to offer any evidence in

 her defense. So the fact she did not appear at the trial is irrelevant.

       Rather than adjourn the trial and afford Evans an opportunity to retain new

 counsel to replace the attorney who had abandoned her, Judge Connors held the jury

 trial after having first conveyed that he was going to adjourn the trial – as unequiv-

 ocally indicated by the fact that Wilson had sent his witnesses home, and by the fact

 that employees in Chief Judge Swartz’s office had indicated to Welch that the trial

 was going to be adjourned, an averment pled in the Complaint which, for purposes
                                            24
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 of a 12(b)(6) motion must be accepted as true. It is apparent from the record that

 Judge Connors reversed his initial decision to adjourn the trial because he was irri-

 tated by the conduct of the Defendant’s mother, an action of vindictiveness against

 a party for the conduct of a relative, a vindictive action which violated Evans’ right

 to due process. See Wasman v. United States, 468 U.S. 559 (1984) (A judge violates

 due process when his decision is motivated out of vindictiveness.) 6

       There is no question Selby committed perjury when he identified the five-

 page document as the contract between Meadowlark and Evans, when he had signed

 a Stipulation approved as to form and substance admitting the five-page document

 he claimed was the contract violated Michigan law. The four additional pages which

 Evans had not seen and had not signed included room exclusions which Meadowlark

 was declining to perform work on, and which were included in the work change

 orders for which Meadowlark was charging Evans additional money, but which Ev-

 ans was refusing to pay for, and for which Meadowlark was claiming Evans had

 breached the contract. But Meadowlark and Selby stipulated that the contract which

 they maintained applied to Evans violated two sections of the Michigan Occupa-

 tional Code. “But once stipulations have been received and approved they are


 6
   The Michigan Court of Appeals has held that it constitutes an abuse of discretion
 for a trial judge to proceed to conduct a trial when a party’s attorney has failed to
 appear. See Zerillo v. Dyksterhouse, 191 Mich. App. 228 (Mich. Ct. App. 1991);
 Bye v. Ferguson, 138 Mich. App. 196 (Mich. Ct. App. 1984); see also Seven Elves,
 Inc. v. Eskenazi, 635 F.2d 396 (5th Cir. 1981).
                                          25
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 sacrosanct. Neither a hearing officer nor a judge may thereafter alter them. … Any

 deviation therefrom results in a denial of due process for the obvious reason that

 both parties by accepting the stipulation have been foreclosed from making any tes-

 timonial or other evidentiary record.” Dana Corp. v. Emp. Security Comm., 371

 Mich. 107, 110 (Mich. 1963). In Longo v. Minchella, 343 Mich. 373 (Mich. 1955),

 the Court observed, id. at 377:

               We are of the opinion that the cross bill of complaint was cor-
        rectly dismissed and the motions to set aside and modify the decree
        were correctly denied. The consent foreclosure decree was a true con-
        sent decree. It was approved as to form and substance by intervenors’
        attorneys, was labeled as such and was considered and referred to as
        such by all parties. … The record before us does not indicate other-
        wise. There is no claim made that intervenors’ consent to the entry of
        the decree was involuntarily given or was the result of fraud, misrepre-
        sentation or mistake. Therefore the parties cannot attack it or appeal
        from it. …

 See also Scott v. Reif, 659 F. App’x 338, *4, note 4 (6th Cir. 2016) (unpublished) (“In

 Michigan, a stipulation as to form – rather than form and substance – concedes

 only that the order correctly embodies the ruling of the court.”) (emphasis added)

 (copy attached as Exhibit 35.)7


 7
  In his motion in limine, Wilson made reference to an email which was sent to Selby
 by Lone Carignan as a spokesperson for the MDLARA. (See copy of letter, Exhibit
 10.) At the end of the email, Carignan stated, “Also, would you please indicate
 whether you are willing to consider resolving this matter with a Consent Order and
 payment of a fine, without an admission of guilt on any of the counts? Please let me
 know.” Wilson argued that this offer by Carignan entails that the Consent Order did
 not constitute an admission of guilt. But the Consent Order is separate from the
 (Footnote continued.)
                                           26
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       Given Selby’s Stipulation, the five-page document he claimed was the con-

 tract, as well as the change orders he claimed were also part of the contract, violated

 Michigan law, and as such violated public policy, by virtue of which they were void

 and unenforceable. See Mahoney v. Lincoln Brick Co., 304 Mich. 694 (Mich. 1943);

 Federoff v. Ewing, 386 Mich. 474 (Mich. 1971); Peeples v. Detroit, 99 Mich. App.

 285 (Mich. Ct. App. 1980).8 On p. 2 of their brief, Defendants misleadingly state,

 “[Plaintiffs’] theory, as pled, is that the Consent Order somehow extinguished Mead-

 owlark’s contract, and that it was a ‘fraud on the court’ for Meadowlark (and Mo-

 vants as their counsel) to proceed to trial on the contract.” This is not what Plaintiffs

 are contending. They are contending that the Stipulation Selby signed, approved as



 Stipulation. Moreover, nowhere in the Stipulation does it indicate that it is not an
 admission of guilt, particularly given that it was approved as to form and substance.
 Wilson cannot incorporate into the Stipulation language which is not there, based on
 an offer by an employee of MDLARA, an offer which was not reduced to writing in
 the Stipulation. Without such qualifying language in the Stipulation, Selby’s signing
 the Stipulation - approved as to form and substance – was an admission of guilt.
 Wilson also argued that the Consent Order was the equivalent of a nolo contendere
 plea in a criminal matter, citing Lichon v. American In. Co., 435 Mich. 408 (Mich.
 1990). But as the Court stated, id. at 418, a nolo contendere plea is expressly inad-
 missible under MRE 410. There is no rule of evidence which makes a stipulation
 approved as to form and substance inadmissible, as demonstrated by Longo, supra.
 8
   In addition, since Meadowlark elected to sue for breach of a written contract, given
 that the contract violated Michigan law and was therefore void, it was not entitled to
 recover either on an implied contract or quantum meruit theory. See Morris Pumps
 v. Centerline Piping, 273 Mich. App. 187 (Mich. Ct. App. 2006); Belle Isle Grill
 Corp. v. City of Detroit, 256 Mich. App. 463 (Mich. Ct. App. 2003); Mead v. Rehm,
 256 Mich. 488 (Mich. 1932); Cardillo v. Canusa Extrusion, 145 Mich. App. 361
 (Mich. Ct. App. 1985).
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 to form and substance, agreeing Counts I and II of the Consent Order were factually

 and legally correct, extinguished what Selby claimed was the contract, which he later

 contradicted at trial and thereby committed perjury, suborned by Wilson.

       The fact that Wilson filed a motion in limine to prevent Castmore from intro-

 ducing the MDLARA Formal Complaint, the Consent Order and the Stipulation as

 evidence demonstrates two things (1) he was clearly aware prior to trial that Selby

 had signed the Stipulation, approved as to form and substance; (2) he appreciated

 their significance and that they would support both Evans’ defense against the breach

 of contract claim, as well as Evans’ counter-claim for unjust enrichment. The fact,

 moreover, that he succeeded in precluding Castmore from introducing the docu-

 ments as evidence did not thereby give Wilson free rein to have Selby contradict his

 own Stipulation by identifying as the contract between Meadolark and Evans the

 five-page document which he had stipulated violated Michigan law, nor the work

 change orders which he had also stipulated violated Michigan law. The fact that an

 attorney succeeds in preventing an opposing counsel from introducing evidence

 which is detrimental to that attorney’s legal position does not mean that the attorney

 is thereby allowed to have his client commit perjury by denying the substance of the

 evidence which the attorney has succeeded in excluding. For example, in the context

 of a criminal trial, suppose the criminal defendant has signed an admission of guilt,

 and the defense attorney files a motion in limine to exclude the confession on the


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 grounds that his client was not told his Miranda rights, or that admitting the confes-

 sion would be more prejudicial than probative, and the motion is granted. This does

 not then allow the defense attorney to put his client on the stand to testify that when

 the crime was committed he was out of the country on vacation. This would consti-

 tute the subornation of perjury, which is precisely what Wilson did.9

       Notably, nowhere in their brief do Defendants discuss the issue of the perjury

 and subornation of perjury committed by Selby and Wilson, nor do they dispute that

 it occurred. This is the central issue in this lawsuit, with significant implications for

 all of the claims pled in the Complaint, but defense counsel has chosen to ignore it.

       Judge Connors, moreover, had seen the Stipulation, since it was attached to

 the motion in limine, yet when Selby identified the very document which he had

 admitted by signing the Stipulation violated Michigan law, Judge Connors said

 nothing, did not question Selby or his attorney as to how they could introduce

 evidence which contradicted the Stipulation. This constitutes circumstantial

 evidence in support of the civil conspiracy claim alleged in Count IV of the

 Complaint. See Dennis v. Sparks, 449 U.S. 24 (1980).

       B.     The Lawsuit Is Not Barred By The Rooker-Feldman Doctrine.



 9
    This conclusion is not invalidated by virtue of the fact that Castmore failed to
 oppose the motion in limine. Castmore’s failure to appreciate the legal significance
 of the MDLARA documents is just another instance of his legal malpractice. It is
 not a justification for Wilson to then proceed to suborn perjury by Selby.
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       Contrary to Defendants’ claim, the Rooker-Feldman doctrine does not bar this

 lawsuit, rather it expressly allows this kind of lawsuit – a lawsuit which challenges

 the legitimacy of a state court judgment because the judgment was obtained via a

 fraud on the state court via perjury and the subornation of perjury. This was made

 clear in Exxon Mobil Corp. v. Saudi Basic Industries Corp., 544 U.S. 280 (2005), in

 which the Supreme Court held that the lower courts were improperly applying the

 Rooker-Feldman doctrine to dismiss cases on the purported basis of lack of jurisdic-

 tion, when they in fact had jurisdiction. The Court stated, id. at 284, 293:

       The Rooker-Feldman doctrine, we hold today, is confined to cases of
       the kind from which the doctrine acquired its name: cases brought by
       state-court losers complaining of injuries caused by state-court judg-
       ments rendered before the district court proceedings commenced and
       inviting district court review and rejection of those judgments. Rooker-
       Feldman does not otherwise override or supplant preclusion doctrine or
       augment the circumscribed doctrines that allow federal courts to stay or
       dismiss proceedings in deference to state-court actions.
                                             ***
       Disposition of the federal action, once the state-court adjudication is
       complete, would be governed by preclusion law. The Full Faith and
       Credit Act, 28 U.S.C §1738 … requires the federal court to “give the
       same preclusive effect to a state-court judgment as another court of that
       State would give.” … Preclusion, of course, is not a jurisdictional mat-
       ter. See Fed. Rule Civ. Proc. 8(c) (listing res judicata as an affirmative
       defense). In parallel litigation, a federal court may be bound to recog-
       nize the claim- and issue-preclusive effects of a state-court judgment,
       but federal jurisdiction over an action does not terminate automatically
       on the entry of judgment in state court.

       Nor does §1257 stop a district court from exercising subject-matter ju-
       risdiction simply because a party attempts to litigate in federal court a
       matter previously litigated in state court. If a federal plaintiff “pre-
       sent[s] some independent claim, albeit one that denies a legal
                                           30
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       conclusion that a state court has reached in a case to which he was
       a party … then there is jurisdiction and state law determines
       whether the defendant prevails under principles of preclusion.”
       …(Emphasis added; citations omitted.)

       This is precisely the nature of Evans’ claim here – she is asserting an inde-

 pendent claim based on the fact that the judgment was obtained by a fraud on the

 state court, via the commission of perjury during the trail. Courts have recognized

 the inherent equitable authority of a federal court to correct an injustice perpetrated

 by the commission of a fraud on a court. Thus in Hazel-Atlas Co. v. Hartford Co.,

 322 U.S. 238 (1944), the Supreme Court reversed a 1932 judgment 12 years after it

 had been issued, based on fraud on the court, Justice Black, writing for the majority,

 stated, id. at 244-46:

       Out of deference to the deep-rooted policy in favor of the repose of
       judgments entered during past terms, courts of equity have been cau-
       tious in exercising their power over such judgments. … But where the
       occasion has demanded, where enforcement of the judgment is “mani-
       festly unconscionable,” … they have wielded the power without hesi-
       tation. Litigants who have sought to invoke this equity power custom-
       arily have done so by bills of review or bills in the nature of bills of
       review, or by original proceedings to enjoin enforcement of a judgment.
       … But whatever form the relief has taken in particular cases, the net
       result in every case has been the same: where the situation has required,
       the court has, in some manner, devitalized the judgment even though
       the term at which it was entered had long since passed away.
                                            ***
       Every element of the fraud here disclosed demands the exercise of the
       historic power of equity to set aside fraudulently begotten judgments.
       This is not simply a case of a judgment obtained with the aid of a
       witness who, on the basis of after-discovered evidence, is believed
       possibly to have been guilty of perjury. Here, even if we consider
       nothing but Hartford’s sworn admissions, we find a deliberately
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       planned and carefully executed scheme to defraud not only the Pa-
       tent Office but the Circuit Court of Appeals. …
                                             ***
       Furthermore, tampering with the administration of justice in the manner
       indisputably shown here involves far more than an injury to a single
       litigant. It is a wrong against the institutions set up to protect and safe-
       guard the public, institutions in which fraud cannot complacently be
       tolerated consistently with the good order of society. Surely it cannot
       be that preservation of the integrity of the judicial process must always
       wait upon the diligence of litigants. The public welfare demands that
       the agencies of pubic justice be not so impotent that they must al-
       ways be mute and helpless victims of deception and fraud. (Empha-
       sis added; citations and footnotes omitted.)

 See also Demjanjuk v. Petrovsky, 10 F.3d 338, 351-52 (6th Cir. 1993).

       Under Michigan law, “A fraud is perpetrated on the court when some material

 fact is concealed from that court or when some material misrepresentation is made

 to that court.” MacArthur v. Miltich, 110 Mich. App. 389, 391 (Mich. Ct. App.

 1981). Note, MacArthur does not state that the material misrepresentation must de-

 ceive the court, only that it is made to the court.

       None of the cases cited by defense counsel calls for a different result. In fact,

 one of the cases which defense counsel cite as supporting their position actually does

 the opposite – it supports Plaintiffs’ position. The facts in McCormick v. Braverman,

 451 F.3d 382 (6th Cir. 2006), are convoluted, involving a divorce proceeding extend-

 ing over 28 years, from 1976-2004. The central issue was who possessed ownership

 rights to marital real property which the husband had conveyed his interest to the

 wife via a quitclaim deed in 2004. The wife in turn conveyed the entire interest to


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 her three daughters. When the husband passed away, his estate argued in state court

 that the property belonged to the estate. This issue percolated for several years in

 various Michigan courts, until one of the daughters filed two lawsuits in the United

 State District Court for the Eastern District of Michigan. The District Court dis-

 missed both lawsuit, on the basis that in did not have jurisdiction under the Rooker-

 Feldman doctrine. The Sixth Circuit reversed, stating, id. at 392:

       The Rooker-Feldman doctrine does not preclude subject matter juris-
       diction in this case of Counts I through V. in Case No. 04-70613 and
       Count III in Case No. 04-70622. In these counts, Plaintiff does not
       complain of “injuries caused by the state court judgments,” …; she does
       not claim that the state court judgments, with respect to Mary’s divorce
       and to the order of receivership, in and of themselves violate the federal
       Constitution or federal law, unlike the plaintiffs in Rooker and in Feld-
       man. Instead, Plaintiff claims that certain Defendants acted illegally
       and that a state statute is unconstitutionally vague and overbroad. In
       Count I of Case No. 04-70613, Plaintiff claims that Defendants Braver-
       man and McCormick committed fraud and misrepresentation in the di-
       vorce proceedings between Mary and Edward’s estate. … In Count III,
       Plaintiff repeats her claim that Defendants Braverman and McCormick
       committed fraud and misrepresentation in the divorce proceedings be-
       tween Mary and Edward’s estate. …

       None of [Plaintiff’s] claims assert an injury caused by the state court
       judgments; Plaintiff does not claim that the state court judgments them-
       selves are unconstitutional or in violation of federal law. Instead, Plain-
       tiff asserts independent claims that those state court judgments were
       procured by certain Defendants through fraud, misrepresentation
       or other improper means, and that a state statute is vague and over-
       broad. Certainly, these independent claims may deny a legal conclu-
       sion of the state court, i.e., the Henry Ruff Property is the sole property
       of Edward’s estate; however, this fact does not lead to a divestment of
       subject matter jurisdiction in the federal courts. Instead, the Supreme
       Court has instructed that preclusion law is the appropriate solution for
       these independent claims. (Italics in the original; emphasis added.)
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       In Todd v. Weltman, Weinberg Reis Co., L.P.A., 434 F.3d 432 (6th Cir. 2006),

 the plaintiff was sued for failing to pay for furniture he had purchased. After the

 judgment was entered against him, the creditor’s attorney filed a garnishment of the

 plaintiff’s social security benefits being deposited in his bank. As part of the gar-

 nishment process, the attorney filed an affidavit with the court which stated, “[T]he

 affiant has a reasonable basis to believe that the person named in the affidavit as the

 garnishee may have property, other than personal earnings, of the judgment debtor

 that is not exempt under the law of this state or the United States.” Id. at 435. The

 affidavit was false, since social security benefits are exempt from garnishment by

 law.10 After the state court initially froze the plaintiff’s account, the state court ruled

 that the social security benefits were exempt. The plaintiff then filed a lawsuit in

 federal District Court, claiming that the lawyer had violated the Fair Debt Collection

 Practices Act, 15 U.S.C. §§ 1692e and 1692f. The defendant filed a motion to dis-

 miss, arguing that the lawsuit was barred by the Rooker-Feldman doctrine. The Dis-

 trict Court rejected the motion, and the Sixth Circuit affirmed, stating, id. at 437:

       The Rooker-Feldman doctrine does not preclude jurisdiction over
       Plaintiff’s claim. Defendant in the instant case claims this Court lacks
       subject matter jurisdiction because Plaintiff’s federal claim is inextri-
       cably intertwined with the Ohio state court decision that Defendant’s
       affidavit was valid. This argument ignores the fact that Plaintiff here
       does not complain of injuries caused by this state court judgment, as the

 10
   Notably, Wilson similarly unlawfully garnished Evans’ disability benefit pay-
 ments from the University of Michigan. See Exhibits 20-26.
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       plaintiffs did in Rooker and Feldman. Instead, after the state court judg-
       ment, Plaintiff filed an independent federal claim that Plaintiff was in-
       jured by Defendant when he filed a false affidavit. This situation was
       explicitly addressed by the Exxon Mobil Court when it stated that even
       if the independent claim was inextricably linked to the state court deci-
       sion, preclusion law was the correct solution to challenge the federal
       claim, not Rooker-Feldman. … While Defendant is technically correct
       that this guidance was not essential to the holding on the facts of Exxon-
       Mobil, as that case dealt with parallel state and federal proceedings, the
       Supreme Court went beyond the facts of the case to give clear instruc-
       tions to the circuits on how to address additional factual situations. To
       follow the reasoning of Defendant would be to ignore these unambigu-
       ous directives from the Supreme Court.

       As in McCormick and Todd, Plaintiffs are not contending that the Judgment

 entered by Judge Connors was itself unconstitutional or violated federal or state law.

 Based on the evidence which was offered at the trial, the Judgment is perfectly de-

 fensible. Plaintiffs are not objecting to the Judgment itself. They are objecting that

 the evidence which supported it was obtained by a fraud on the court, due to the

 admission of perjured testimony, suborned by Selby’s attorney. This constitutes an

 independent claim that is not barred by Rooker-Feldman.11

       The cases which Defendants cite are all distinguishable. In Yee v. Michigan

 Supreme Court, No. 06-cv-15142 (E.D. Mich. 2007), the plaintiff had sued in the



 11
   See also Barrow v. Hunton, 99 U.S. 80, 83 (1878) (“[I]f the proceedings are tan-
 tamount to a bill in equity to set aside a decree for fraud in the obtaining thereof,
 then they constitute an original and independent proceeding[.]”; Simon v. Southern
 Railway, 236 U.S. 115 (1915) (Federal court has equity jurisdiction to overturn judg-
 ment obtained in state court via fraud.).

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 Michigan state courts in order to establish a maximum lake level of Bambi Lake in

 Shiawassee County, Michigan, on the shore of which his home was located. He

 maintained that actions by neighbors were increasing the lake level, and thereby

 damaging his property. He filed several lawsuits in state court, naming different

 defendants, all of which were dismissed by the trial court, and the dismissal was

 affirmed by the Michigan Court of Appeals and leave to appeal was denied by the

 Michigan Supreme Court. He then filed a lawsuit in the United States District Court

 for the Eastern District of Michigan, alleging that the various rulings in the state

 trial court were erroneous, and making a general claim of conspiracy on the part of

 the judge and various state administrators. He simply rehashed arguments he had

 made in state court which were rejected. Unlike the instant case, he offered no evi-

 dence of fraud or perjury. His federal claims were paradigm examples of the type

 of claims which the Rooker-Feldman doctrine was intended to preclude.

       In Sayyah v. Herman, Case No. 1:15-cv-326 (S.D. Ohio 2016), the plaintiff

 had filed a lawsuit in federal court claiming that in a lawsuit in an Ohio state court

 the judge and others had violated his constitutional rights and engaged in a racket-

 eering enterprise in violation of RICO. In the federal court he claimed the judge

 magistrate made rulings without the plaintiff’s consent. This aberrant lawsuit has no

 bearing on the applicability of the Rooker-Feldman doctrine to the instant lawsuit.

       Smith v. Brown, Civil Action Case No. 15-2784 (E.D. La. 2016), arose out of


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 a divorce proceeding in Louisiana state court in which the wife claimed that her

 husband and his attorney had conspired with the state court judge to fabricate evi-

 dence and commit perjury in order to deprive her of her property. She claimed that

 her signature on a stipulated agreement had been forged and filed a petition to have

 the stipulation annulled. When she lost in the state court, she filed suit in federal

 court, making the allegations of conspiracy between her former husband, his attor-

 ney and the state judge. While the general terms of conspiracy, fraud and perjury

 were raised in that case, there is a significant difference between the use of those

 labels in that case and this case. In that case the plaintiff was seeking to overturn a

 stipulation which she claimed she had never signed. Once the court rejected that

 argument, under Rooker-Feldman the plaintiff could not then simply go into federal

 court and seek to have that ruling overturned. Here, however, Evans is not seeking

 to overturn her own stipulation. Rather, she is claiming that a Stipulation which

 Selby signed and accepted as to “form and substance” precluded him from contra-

 dicting that Stipulation at trial. Selby has not claimed that the signature on the Stip-

 ulation is not his own or was obtained by fraud. Instead, he and Wilson’s attorneys

 are ignoring this Stipulation, hoping that this Court, too, will ignore it.12


 12
    This is another example of the Defendants and their attorneys ignoring a basic
 principle that we were all taught in our first year of law school – that decisions do
 not just turn on the legal principles which apply to them, but they turn more im-
 portantly on the specific facts of the case. All of the cases which we studied in law
 (Footnote continued.)
                                            37
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       Contrary to defense counsel’s prediction, Plaintiffs’ counsel is not going to

 cite In re Sun Valley Foods Co., 801 F.2d 186 (6th Cir.1986), in support of their

 position. Despite the fact that Sun Valley was decided before the Supreme Court

 decision in Exxon Mobil was rendered, the Court in Sun Valley held that the Rooker-

 Feldman doctrine barred the plaintiff’s federal lawsuit, because “A United States

 district court ‘has no authority to review final judgments of a state court in judicial

 proceedings.’ … This is true, even though the state court judgment may have been

 erroneous.” Id. at 189. But in Sun Valley, unlike here, there were no allegations that

 the state court judgment had been procured by perjury and the subornation of per-

 jury, with irrefutable documentary proof that this was the case.

       Finally, in Iannucci v. Michigan, Case No. 16-cv-10255 (E.D. Mich. 2016),

 the plaintiff had challenged a child support order entered in state court, and a crimi-

 nal judgment for failure to pay child support. He filed in federal court seeking to

 overturn these rulings. The District Judge held the lawsuit was barred by Rooker-

 Feldman, stating, id. at *12: “The Complaint does not identify any ‘fraud’ that led

 to the entry of the child support order. Instead, the Complaint alleges that the



 school involved the repetitive use of the same legal principles in different factual
 contexts. The outcome was determined by the factual differences in those cases,
 notwithstanding that the same legal principles were being applied. In each of the
 briefs filed by the defense counsel in support of their motions to dismiss, they cite
 cases, and quote general passages from those cases, without discussing the facts of
 the cases, as if they apply to this case willy-nilly.
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 Macomb County Friend of the Court and the Macomb County Circuit Court made

 legal errors in calculating his child support obligations. … And the Complaint does

 not identify any fraud that led to the entry of judgment against him in the criminal

 case. … “ Absent such allegations, and proof of such allegations, Iannucci is not

 relevant to this lawsuit. The Rooker-Feldman doctrine thus does not preclude the

 claims pled against Wilson and Howard & Howard.

 II.   THE LAWSUIT IS NOT BARRED BY COLLATERAL ESTOPPEL.

       The Michigan Supreme Court explained the doctrine of collateral estoppel in

 Monat v. State Farm Ins. Co., 469 Mich. 679 (Mich. 2004), as follows, id. at 683:

       Generally, for collateral estoppel to apply three elements must be satis-
       fied: (1) “a question of fact essential to the judgment must have been
       actually litigated and determined by a valid and final judgment”; (2)
       “the same parties must have had a full [and fair] opportunity to litigate
       the issue”; and (3) “there must be mutuality of estoppel.” … “[M]utu-
       ality of estoppel requires that in order for a party to estop an adversary
       from relitigating an issue that party must have been a party, or in privy
       to a party, in the previous action. In other words, ‘[t]he estoppel is
       mutual if the one taking advantage of the earlier adjudication would
       have been bound by it, had it gone against him.” (Bracketed words in
       the original; citations omitted.)

       In Monat, the Court held that mutuality of estoppel was no longer required if

 the claim of estoppel was being asserted defensively, as it is by Defendants here.

 Neither of the remaining prerequisites applies, however. The central factual issue in

 this lawsuit is whether Selby committed perjury, suborned by Wilson. This factual

 issue was not “actually litigated and determined by a valid and final judgment.” It


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 is being raised for the first time in this lawsuit. Nor was the issue regarding Judge

 Connors’ violation of Evans’ constitutional rights litigated or discussed on appeal.

       Nor did Evans “have … a full [and fair] opportunity to litigate the issue,” since

 she was not afforded time to obtain a new attorney, and she was not allowed to rep-

 resent herself at the trial. Defendants’ claim Evans is at fault for having failed to

 appear at the trial is specious. There was nothing she could do to defend herself if

 she had appeared, since Judge Connors ruled Castmore was the attorney of record

 and he would not grant her motion to represent herself. In the absence of anyone to

 defend her, Selby and Wilson were permitted to commit perjury and the subornation

 of perjury. This would hardly qualify as a fair trial. Since no one had objected at trial

 to the commission of perjury, because no one was at the trial to defend Evans, since

 Judge Connors refused to allow Evans time to retain a new attorney, and because

 Judge Connors would not allow Evans to represent herself, the claim Selby had com-

 mitted perjury, and that Wilson had suborned perjury, could not be raised on appeal,

 since no objection had been made to preserve it for appeal. Taskey v. Paquette, 324

 Mich. 143 (Mich. 1949); Cabana v. City of Hart, 327 Mich. 287 (Mich. 1950). While

 the Court of Appeals addressed the issue of whether Judge Connors improperly de-

 nied Evans’ motion to amend her counter-complaint to add charges of fraud, the

 fraud claims in question had nothing to do with Selby’s and Wilson’s acts of perjury,

 since they had not yet occurred at the time the motion to amend was argued.


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       Defendants make several specious arguments in support of their contention

 collateral estoppel precludes Evans from raising claims that Selby committed a fraud

 on the court. First, they focus exclusively on allegations of fraud related to the qual-

 ity of Meadowlark’s work and whether the work was actually done, claims which

 they assert were addressed by the Court of Appeals and rejected, and therefore may

 not be raised again in this Court. But this is only one form of fraud on the court

 which Selby committed. The more serious form of fraud on the court – his commis-

 sion of perjury by giving testimony which contradicted the Stipulation which he

 signed and approved as to “form and substance” - was not addressed anywhere in

 the Court of Appeals’ decision.

       Defendants then argue that because the trial court granted the motion in

 limine, and that Castmore failed to oppose the motion, a ruling that was affirmed by

 the Court of Appeals, has bearing on collateral estoppel. As discussed above, this

 argument is a red herring. The fact that the motion in limine was not contested by

 Castmore, and therefore he was precluded form introducing the MDLARA docu-

 ments in opposition to the Meadowlark’s breach of contract claim, or in support of

 Evans’ unjust enrichment counter-claim, did not mean that Selby had the right to

 commit perjury by contradicting the contents of those documents.

       Defendants refer to three briefs which Evans filed in the Michigan Court of

 Appeals and which are attached as Exhibits D, F, and H to the Defendants’ brief. A


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 review of these briefs, however, reveals that nowhere in those briefs did Evans assert

 that Selby committed perjury by identifying the five-page document as the contract

 between Meadowlark and Evans, testimony which directly contradicted the Stipula-

 tion he approved as to form and substance, and that this perjury was suborned by

 Wilson. The excerpts from the briefs which Defendants quote on p. 15 of their brief

 have nothing to do with an allegation that Selby committed perjury. Likewise, the

 fact that the Formal Complaint was attached to Evans’ brief is not an assertion that

 Selby committed perjury. Evans did not raise these issues in her briefs because no

 objection to the admission of that testimony had been raised at the trial, nor could it

 have been raised, because there was no attorney at the trial to make such an objection

 on behalf of Evans. The fact that Castmore violated his professional obligation to

 Evans by not appearing at the trial does not legitimize what Selby did by committing

 perjury, nor Wilson’s subornation of that perjury. In addition, nowhere in the Mich-

 igan Court of Appeals decision is the issue of perjury at the trial, or the subornation

 of perjury, raised or discussed. Consequently, collateral estoppel does not apply to

 these issues being raised in this lawsuit.

       Defendants’ quotation on p. 14 from the Yee decision has no bearing on the

 collateral estoppel issue here, because no claim of fraud on the court or perjury was

 raised in that case. The only other case which Defendants cite, Overseas Motors,

 Inc. v. Imp. Motors Ltd., Inc., 375 F. Supp. 499 (E.D. Mich. 1974), aff’d, 519 F.2d


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 119 (6th Cir. 1975), involved a contract dispute between a United States distributor

 of foreign cars and the foreign car manufacturers. When the distributor claimed that

 the manufacturers had breached their contract and violated American anti-trust laws,

 the manufacturers demanded arbitration under the contract. The arbitrator ruled in

 favor of the manufacturers, and the distributor filed suit in federal court to contest

 the arbitration decision. The District Court held that all of the issue which the dis-

 tributor was raising in the federal lawsuit had already been addressed by the arbitra-

 tor, and were therefore barred by collateral estoppel. The distributor made no claim

 that the manufacturers had committed a fraud on the arbitrator, or had committed

 perjury. This case has no bearing on the issue of collateral estoppel as it relates to

 this lawsuit. In sum, collateral estoppel does not preclude any of the claims pled

 against Wilson and Howard & Howard.

 III.   PLAINTIFFS HAVE PLED A COGNIZALBE CLAIM AGAINST THE
        DEFENDANTS UNDER 42 U.S.C. §1983.

        Plaintiffs agree that in order to plead a cognizable claim against the Defend-

 ants under 42 U.S.C. §1983 they must demonstrate that the Defendants – particularly

 Wilson - were state actors.13 Defendants acknowledge that one way in which a pri-

 vate citizen can be sued as a state actor is if the private citizen’s conduct has been


 13
   Howard & Howard’s liability is derivative of Wilson’s liability, since all of Wil-
 son’s actions giving rise to his liability arose when he was a partner at Howard &
 Howard, and therefore qualified as a policy maker for Howard & Howard under
 Pembaur v. Cincinnati, 475 U.S. 469 (1986).
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 part of a conspiracy with a state actor. In this case, Plaintiffs maintain that the state

 actor with whom Wilson was involved in a conspiracy was Judge Connors. The

 Defendants contend that Plaintiffs cannot succeed in making this claim because to

 do so they are impaled on the horns of the following dilemma: In order for Judge

 Connors to have been a party to a conspiracy with Wilson, he had to have known

 about the acts which Wilson committed which Plaintiffs maintain constituted the

 commission of a fraud on the court, in this case the subornation of perjury. However,

 an essential element of a fraud on the court, they argue, is that Judge Connors was

 not aware that a fraud was being committed on him. Therefore, Defendants main-

 tain, Plaintiffs cannot prove this claim.

       Despite the cognitive appeal of this argument at first blush, the argument is

 specious, for the following reasons. The principle behind the concept of a “fraud on

 the court” is not limited to the court in which the fraud was allegedly committed. As

 the Supreme Court stated in Hazel-Atlas Co., supra, a fraud committed in a trial

 court via perjury is not just a fraud on the trial court alone; it adversely affects “the

 integrity of the judicial process” itself and reverberates up through the appellate pro-

 cess to the appellate courts, as it did in Hazel-Atlas Co. The 6th Circuit made a

 similar observation in Demjanjuk v. Petrovsky, supra, stating, 10 F.3d at 351-52:

       Fraud on the court is a somewhat nebulous concept usually discussed
       in civil cases. No court system can function without safeguards against
       actions that interfere with its administration of justice. This concern
       must be balanced against the necessity for finality of court judgments,
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       thus, only actions that actually subvert the judicial process can be
       the basis for upsetting otherwise settled decrees.

       Professor Moore’s definition is frequently cited:

             Fraud upon the court should … embrace that species of
             fraud which does or attempts to, subvert the integrity of
             the court itself, or is a fraud perpetrated by officers of the
             court so that the judicial machinery cannot perform in
             the usual manner its impartial task of adjudging cases
             that are presented for adjudication, and relief should be
             denied in the absence of such conduct.

       7 Moore’s Federal Practice and Procedure 60.33. Cases dealing with
       fraud on the court often turn on whether the improper actions are those
       of parties alone, or if the attorneys in the case are involved. As an of-
       ficer of the court, every attorney has a duty to be completely honest in
       conducting litigation. Professor Moore emphasizes this element of
       fraud in his treatise:

             [W]hile an attorney should represent his client with singu-
             lar loyalty, that loyalty obviously does not demand that he
             act dishonestly or fraudulently; on the contrary his loyalty
             to the court, as an officer thereof, demands integrity and
             honest dealing with the court. And when he departs from
             that standard in the conduct of a case he perpetrates fraud
             upon a court.
             (Emphasis added.)

       The perjury which Selby committed before Judge Connors, suborned by Wil-

 son, continued to reverberate as a fraud on the Michigan Court of Appeals, and up

 through the Michigan Supreme Court, because based on that perjury the Court of

 Appeals accepted Meadowlark’s claim that the contract between it and Evans was

 the five-page document which Selby perjuriously identified as the contract at the

 trial, and therefore Evans’ failure to pay the balance which Selby claimed was still
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 due under the contract constituted a breach of contract. The continuing effect of the

 perjury committed before Judge Connors therefore continued to constitute a fraud

 on the court system up through the Michigan Court of Appeals and the Michigan

 Supreme Court. Whether Judge Connors was a passive or an active participant in

 accepting the perjury committed in his courtroom, a fraud on the court was commit-

 ted on the judicial court system in general.

       Even if Judge Connors was a passive participant in accepting the perjury com-

 mitted by Selby, suborned by Wilson, under Supreme Court precedent this would

 suffice to render Selby and Wilson as state actors. An analysis of whether Selby and

 Wilson were rendered state actors by virtue of Judge Connors’ conduct and decisions

 requires a somewhat detailed discussion of the evolution of state action jurispru-

 dence. In Chapman v. Higbee Co., 319 F.3d 825 (6th Cir. 2003), cert. denied, 542

 U.S. 945 (2004), the Court set forth three traditional tests for determining whether

 private action may be “fairly attributable to the state.” 319 F.3d at 833. They are (1)

 the public function test; (2) the state compulsion test; and (3) the symbiotic relation-

 ship or nexus test. Plaintiffs maintain the Selby and Wilson qualify as state actors

 under the symbiotic relationship/nexus test. A seminal case in the evolution of the

 applicability of this test in the context of a judicial proceeding is Shelley v. Kraemer,

 334 U.S. 1 (1948), which involved the enforcement of racially restrictive covenants

 in real estate transactions being conducted by private individuals. The issue had


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 been raised in state courts in Missouri and Michigan, which had enforced the restric-

 tive covenants. The Missouri lawsuit was filed by Kraemer to prevent the sale of

 property covered by a restrictive covenant to Shelley, an African-American. The

 Supreme Court held that voluntary adherence to the restrictive covenants did not

 violate the Constitution, stating, id. at 13:

       We conclude, therefore, that the restrictive agreements standing alone
       cannot be regarded as violative of any rights guaranteed to petitioners
       by the Fourteenth Amendment. So long as the purposes of those agree-
       ments are effectuated by voluntary adherence to their terms, it would
       appear clear that there has been no action by the State and the provisions
       of the Amendment have not been violated.

       But the issue before the Court was whether a state court could enforce such

 restrictive covenants to prevent owners of property covered by the covenants from

 selling real estate to African-Americans. The Supreme Court held that this consti-

 tuted state action which violated the Equal Protection Clause, stating, id. at 14-20:

       That the action of state courts and judicial officers in their official ca-
       pacities is to be regarded as action of the State within the meaning of
       the Fourteenth Amendment, is a proposition which has long been es-
       tablished by decision of this Court. That principle was given expression
       in the earliest cases involving the construction of the terms of the Four-
       teenth Amendment. …
                                         ***
       The short of the matter is that from the time of the adoption of the
       Fourteenth Amendment until the present, it has been the consistent
       ruling of this Court that the action of the States to which the
       Amendment has reference includes action of state courts and state
       judicial officials. Although, in construing the terms of the Fourteenth
       Amendment, differences have from time to time been expressed as to
       whether particular types of state action may be said to offend the
       Amendment’s prohibitory provisions, it has never been suggested that
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       state court action is immunized from the operation of those provisions
       simply because the act is that of the judicial brand of the state govern-
       ment.
                                         ***
       We hold that in granting judicial enforcement of the restrictive agree-
       ments in these cases, the States have denied petitioners the equal pro-
       tection of the laws and that, therefore, the action of the state courts can-
       not stand. We have noted that freedom from discrimination by the
       States in the enjoyment of property rights ws among the basic objec-
       tives sought to be effectuated by the framers of the Fourteenth Amend-
       ment. That such discrimination has occurred in these cases is clear.
       Because of the race or color of these petitioners they have been denied
       rights of ownership or occupancy enjoyed as a matter of course by other
       citizens of different race or color. … (Emphasis added; footnote omit-
       ted.)

       While the Court held that the state courts had violated the Constitution, it did

 not address whether by so doing the courts rendered the private citizens who were

 seeking to enforce the restrictive covenants thereby became state actors. This ques-

 tion was addressed by subsequently decided Supreme Court decisions.

       In Evans v. Newton, 382 U.S. 296 (1966), a Georgia Senator, Augustus O.

 Bacon, devised a tract of land to the Mayor and Council of the City of Macon. In

 his will, he specified that the land was to be used as a park for white people only.

 While the City honored Sen. Bacon’s wishes for several years, maintaining its whites

 only status, but with the passage of time allowed African-Americans to also use the

 park, recognizing that keeping the public park segregated violated the 14th Amend-

 ment. Members of the Board of Members responsible for administering the park

 filed suit in state court requesting that the City be removed as trustee and that title in


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 the property be transferred to private white citizens who would enforce Sen. Bacon’s

 request for segregation. The Georgia court accepted the resignation of City as trustee

 and appointed three new trustees. Several African-American citizens moved to in-

 tervene and appealed the decision to the Georgia Court of Appeals, which affirmed,

 and then to the Georgia Supreme Court, which also affirmed

       The Supreme Court granted certiorari and reversed. Citing its decision in

 Burton v. Wilmington Parking Authority, 365 U.S. 715 (1961), the Court stated, 382

 U.S. at 299: “Conduct that is formally ‘private’ may become so entwined with gov-

 ernmental policies or so impregnated with a governmental character as to become

 subject to the constitutional limitations placed upon state action. The action of a city

 in serving as trustee of property under a private will is an obvious example.” The

 Court proceeded to hold that by virtue of its prior administration, the transfer to the

 new trustees continued to constitute state action, concluding, id. at 302, “[O]n this

 record we cannot say that the transfer of title per se disentangled the park from seg-

 regation under the municipal regime that long controlled it.”

       In Adickes v. Kress Co., 398 U.S. 144 (1970), a white school teacher who was

 accompanied by African-American students was denied service at a restaurant in

 Hattiesburg, Mississippi. When she exited the restaurant, she was arrested by a po-

 lice officer on a charge of vagrancy. She sued the restaurant in federal court under

 42 U.S.C. §1983, claiming that by refusing to serve her because she was in the


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 company of African-Americans, the restaurant had violated the Equal Protection

 Clause. She claimed that the restaurant was a state actor on two grounds: (1) that

 the restaurant was acting in accordance with a state enforced custom of segregating

 the races; (2) that there was a conspiracy between the restaurant and the police of-

 ficer. The District Court granted a directed verdict regarding the first claim in favor

 of the restaurant after a trial; it dismissed the second claim on summary judgment.

 The Supreme Court reversed regarding both rulings, and remanded the case. Justice

 Black, in a concurring opinion, wrote, with respect to the conspiracy claim, id. at

 176:

        The existence or nonexistence of a conspiracy is essentially a factual
        issue that the jury, not the trial judge, should decide. In this case peti-
        tioner may have had to prove her case by impeaching the store’s wit-
        nesses and appealing to the jury to disbelieve all that they said was true
        in the affidavits. The right to confront, cross-examine and impeach ad-
        verse witnesses is one of the most fundamental rights sought to be pre-
        served by the Seventh Amendment provision for jury trials in civil
        cases. The advantages of trial before a live jury with live witnesses,
        and all the possibilities of considering the human factors, should not be
        eliminated by substituting trial by affidavit and the sterile bareness of
        summary judgment. “It is only when the witnesses are present and sub-
        ject to cross-examination that their credibility and the weight to be
        given their testimony can be appraised. Trial by affidavit is no substi-
        tute for trial by jury which so long has been the hallmark of ‘even
        handed justice.’” Poller v. Columbia Broadcasting, 368 U.S. 464, 473
        (1962).

        In Lugar v. Edmondson Oil Co., 457 U.S. 922 (1982), the appellee, Ed-

 mondson Oil Co., was an oil supplier to the appellant, a lessee operator of a truck

 stop. Edmondson sued Lugar in a Virginia state court for failure to pay a debt,
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 and, pursuant to Virginia law, sought prejudgment attachment of Lugar’s prop-

 erty. The clerk of the state court issued a writ of attachment, which prevented

 Lugar from accessing his property. After a hearing, the state judge dismissed

 the attachment on the basis that Edmondson had failed to establish the requisite

 grounds for its justification. Lugar then sued Edmondson in federal court under

 42 U.S.C. §1983, charging Edmondson with seizing his property without due

 process in violation of the 14th Amendment. The District Court dismissed the

 lawsuit, holding that Edmondson was not a state actor. The 4th Circuit Court of

 Appeals affirmed, on the grounds that, “[A] private party acts under color of

 state law within the meaning of §1983 only when there is a usurpation or cor-

 ruption of official power by the private litigant or a surrender of judicial power

 to the private litigant in such a way that the independence of the enforcing officer

 has been compromised to a significant degree.” Id. at 926.

     The Supreme Court reversed, stating, id. at 941:

       [W]e have consistently held that a private party’s joint participation
       with state officials in the seizure of disputed property is sufficient to
       characterize that party as a “state actor” for purposes of the Fourteenth
       Amendment. The rule in these cases is the same as that articulated in
       Adickes v. S. H. Kress Co., …

       “ ‘Private persons, jointly engaged with state officials in the prohibited
       action, are acting “under color” of law for purposes of the statute. To
       act “under color” of law does not require that the accused be an officer
       of the State. It is enough that he is a willful participant in joint activity
       with the State or its agents[.]” …


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       This test has evolved into what has become known as the “entwinement”

 or “entanglement” test, as set forth in Brentwood Acad. V. Tenn. Secondary Sch.

 Athletic Ass’n, 531 U.S. 288 (2001). In Brentwood, the question was whether

 the Tennessee Secondary School Athletic Association (“Association”), a not-

 for-profit athletic association which regulated interscholastic sports among Ten-

 nessee’s public and private high schools, was so entwined with the Tennessee

 State Board of Education as to render it a state actor. The Association had pe-

 nalized the Brentwood Academy, a private parochial high school, with an alleged

 recruiting violation, the Academy sued the Association in federal court claiming

 that the Association was a state actor and had violated the Academy’s rights

 under the 1st and 14th Amendments. The District Court held that the Association

 was a state actor. The 6th Circuit Court of Appeals reversed. The Supreme Court

 reversed the 6th Circuit and held that by virtue of the Association’s “entwine-

 ment” with the State of Tennessee, it was a state actor and therefore subject to

 the dictates of the 14th Amendment. See also Wickersham v. City of Columbia,

 48 F.3d 591 (8th Cir. 2007) (A nonprofit organization which sponsored an annual

 Memorial Day tribute to veterans was so “entangled with the city” that it was a

 state actor, so that speech restrictions which it implemented at the festival were

 subject to the protections of the 1st Amendment.)

       In Brucar v. Rubin, 638 F.2d 987 (7th Cir. 1980), the plaintiff filed a


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 lawsuit against her brother and her brother’s attorneys, alleging that they had

 conspired with a state judge to deprive her of her due process rights during a

 proceeding to have their mother, Dora Weisberg, declared incompetent and have

 her brother appointed conservator of her estate. There was no allegation, unlike

 in Dennis v. Sparks, 449 U.S. 24 (1980), that the judge had conspired with the

 defendants as reciprocity for a bribe. The District Court dismissed the lawsuit

 for failure to state a claim, ruling that the brother and his attorneys were not state

 actors. The 7th Circuit reversed, stating, id. at 993-94:

       The Brucars make five allegations in particular that are sufficient to
       raise the reasonable inference that Judge Kogut acted in violation of
       their due process rights because he was corrupted by the defendants.
       The first and most serious allegation is that Judge Kogut was in private
       conference with Mr. Rubin just moments before the hearing on Dora
       Weisberg’s competency. This ex parte conference was followed im-
       mediately by Judge Kogut’s summary finding of incompetency without
       taking any evidence at all – without, indeed, even bothering to question
       Dora Weisberg, the alleged incompetent – and his summary appoint-
       ment of Mr. Weisberg as conservator. Taken separately, neither the ex
       parte conference nor the summary rulings necessarily show a conspir-
       acy. But taken together they do acquire suggestive overtones.

       The Brucars further contend that the ease with which Mr. Rubin was
       able to maneuver the August 1977 contempt proceedings into Judge
       Kogut’s courtroom suggests that Judge Kogut must have played an ac-
       tive role in this maneuver. This suggestion is buttressed by the allega-
       tion of the manner in which Judge Kogut rebuffed Mrs. Brucar’s objec-
       tion to the proceedings: rather than merely overrule the objections, he
       threatened to imprison Mrs. Brucar for raising it. Concededly, none of
       these alleged facts is conclusive – or even direct – evidence of a con-
       spiracy between the judge and Messrs. Weisberg, Rubin and Juron.
       Nonetheless, they do constitute the “overt acts … reasonably related to
       the promotion of the claimed conspiracy[.]” …
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       … Conspiracies are ordinarily clandestine, so that proof of them will
       often be by purely circumstantial evidence. We believe a fact finder
       could reasonably conclude on the basis of the Brucars’ allegations, “not
       only that the private party used the state court proceedings to produce
       a constitutional wrong, but that there was agreement between the party
       and judge beyond ordinary request and persuasion by the prevailing
       party, and that the state court judge invidiously used his office to de-
       prive the §1983 plaintiff of a federally protected right.” … We hold,
       therefore, that the Brucar’s allegations of conspiracy between Judge
       Kogut and the defendants are sufficiently specific to state a claim of
       state action under §1983. (Footnotes and citations omitted.)

       Here there is sufficient circumstantial evidence that Judge Connors’ con-

 duct and rulings have sufficient “suggestive overtones” and were sufficiently

 entangled with Selby’s commission of perjury, suborned by Wilson, such that

 the latter are rendered state actors. The most suggestive aspect of this conduct

 is the fact that Judge Connors saw the Stipulation which Selby had signed and

 approved as to “form and substance,” since the Stipulation and Consent Order

 were attached as exhibits to the motion in limine which Wilson filed. It must be

 presumed that Judge Connors reviewed and read all of the exhibits which were

 attached to that motion prior to ruling on the motion, otherwise how could he

 rule, including the Stipulation, by virtue of which Selby admitted that the five-

 page document he claimed constituted the contract between Meadowlark and

 Evans was in fact not the contract she executed, and that the document Selby

 claimed was the contract violated Michigan law and was therefore unenforcea-

 ble. Likewise, by signing the Stipulation approved as “form and substance,”
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 Selby also acknowledged that none of the additional work orders which he

 claimed had been agreed to by Evans, were likewise not part of the contract and

 were not enforceable. It can be assumed, moreover, that Judge Connors appreci-

 ated the significance of a Stipulation agreed to as to “form and substance.”

       Why then, one is compelled to ask, when Wilson, at the trial, asked Selby

 to identify the five-page document as the contract, and to identify the work or-

 ders as designating work which Evans was improperly refusing to pay for (Ex-

 hibit 4, pp. 60-74) did Judge Connors not interject and ask Mr. Wilson how he

 could offer these exhibit when his client had already agreed in a Stipulation ap-

 proved as to “form and substance” that they were not the contract and violated

 Michigan law? Selby was obviously committing perjury, suborned by his attor-

 ney, felonies under Michigan law, MCL §750.422, yet Judge Connors said ab-

 solutely nothing. The fact that Evans did not have an attorney present in the

 courtroom to protect her interests – a circumstance resulting from Judge Connors

 refusal to adjourn the trial to allow Evans to retain a new attorney - did not mean

 that Wilson had free rein to introduce whatever evidence he wished, without

 Judge Connors objecting to the commission of a felony before his very eyes.

       Add to this Judge Connors’ obvious hostility to Evans’ mother, as indi-

 cated by his irritation with her protestations on the day of trial, causing him to

 change his mind about adjourning the trial, and his comment at the hearing on


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 the appointment of a receiver to the effect that he would never believe anything

 Ms. Welsh said, and there is sufficient circumstantial evidence that there is

 something suspicious going on. While, as in Brucar, this is not direct evidence

 of a conspiracy, it is sufficient to constitute adequate circumstantial evidence of

 an entanglement with Selby and Wilson such that they qualify as state actors, as

 well as sufficient to deny a motion for dismissal under Rule 12(b)(6), where all

 reasonable inferences are to be in favor of the non-moving party.

       One cannot explain away Judge Connors’ failure to note that Selby was com-

 mitting perjury in his courtroom as due to an oversight, or that he failed to remember

 the contents of the Stipulation, because, even up to the present day, despite the fact

 that the evidence that Selby committed perjury, suborned by Wilson, has been pre-

 sented to him, he has failed to acknowledge it, and has insisted on continuing to

 enforce the Judgment which was obtained via the perjury and subornation of perjury

 by granting every motion Matthew Krichbaum has filed in order to collect attorney

 fees for his work as a receiver in enforcing the Judgment which was void ab initio.

 Thus, at the hearing on Evans’ motions to recuse Judge Connors and place a stay on

 further proceedings regarding Krichbaum’s motion to approve his Final Report, the

 undersigned stated to Judge Connors the following (Exhibit 31, pp. 5-8):

             And you also violated [Evans’] 14th Amendment right to due pro-
       cess by proceeding with the trial. And during that trial – and the docu-
       ments support this claim, uh, indisputably, uncontestably – Mr. Selby
       perjured himself because earlier that year on April 21, 2017, Mr. Selby
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       had signed the stipulation approved as to form and substance and con-
       ceded that he had violated Michigan law by claiming before this Court
       that a five-page document was the contract which had been executed
       by Ms. Evans. The Michigan Department of Licensing and Regulations
       filed a formal complaint against Mr. Selby and his company, Meadow-
       lark Builders. And in that formal complaint there were four counts.
       The first count claimed that the contract that Mr. Selby claimed ws the
       contract Ms. Evans had signed, uh, was not in fact a contract because
       the contract she signed was only one page long and the contract which
       Mr. Selby purported to be the contract violated Michigan law ‘cause it
       had not been signed by Ms. Evans.

              And he also, uh, in the trial offered as evidence change work or-
       ders. Uh, in which he charged Ms. Evans for additional work. And the
       Michigan Department of Licensing and Regulatory Affairs found that
       those change work orders – which he was charging Ms. Evans for – also
       violated Michigan law because, again, Ms. Evans had not signed them
       and she was not even aware of them. Mr. Selby on, uh, April 17th of
       two thousand – uh, excuse me – April 21, 2017 signed a stipulation not
       as only to form but as to substance. And under Michigan law, signing
       a stipulation as to substance is a concession that what the individual is
       being charged and accused of is true both as to law and as to fact. And
       when Mr. Selby signed that stipulation, he was conceding that the con-
       tract – the five-page document he claimed was the contract was not in
       fact the contract. That it violated Michigan law and thereby under
       Michigan law was null and void and unenforceable.

              Now, Mr. Wilson was well aware that Mr. Selby had signed that
       stipulation. Uh, and I can – I can prove to you that he knew that if you
       wish me to go into detail but that - but he knew it. And yet, at the trail
       he had Mr. Selby identify the five-page document which Mr. Si – Selby
       had already stipulated was not the proper contract and violated Michi-
       gan law, Mr. Selby identified that document as the contract and it was
       offered as an exhibit in the absence of any attorney representing Ms.
       Evans to contradict tis and point out, Your Honor, Mr. Selby is com-
       mitting perjury, you accepted that exhibit.

             Mr. Se – Wilson then had Mr. Selby identify the change work
       orders. Which he had included as a basis to file a lien on Ms. Evans’
       home. And Mr. Selby again identified those change work orders as part
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        of the contract and that he was charging Ms. Evans for breach of con-
        tract for failing to pay. Yet, that also contradicted Mrs. – Mr. Selby’s
        stipulation as to form and substance that those change work orders were
        not part of the contract, had not been signed by Ms. Evans, and violated
        Michigan law and therefore also were unenforceable and void.

        The undersigned proceeded to explain to Judge Connors that since the Judg-

 ment which had been obtained via perjury was therefore void ab initio, that no re-

 ceivership should have been created and no receiver appointed. The undersigned

 then said the following (Exhibit 31, p. 14):

              Now, in, uh, Mr. Krichbaum’s - uh, and I wanna repeat, Your
        Honor, under the Canons of Judicial Ethics, if I have demonstrated to
        you that Mr. Wilson suborned perjury, you have an absolute obligation
        under Canapa (sic) – Canon of Ethics two or three, sub-(b), sub (2) to
        do the following. Sub – no. Sub (3). A judge should take or initiate
        appropriate disciplinary measures against a judge or lawyer for unpro-
        fessional conduct of which a judge may become aware. Now, I’m mak-
        ing you aware here and now – if you weren’t aware of it before – the
        Mr. Wilson suborned perjury from this – on this Court. And you have
        a judicial obligation to report that to Michigan Attorney Grievance
        Commission.

        Judge Connors proceeded to deny the motion to recuse himself, and then,

 when the undersigned attempted to argue the motion for a stay, cut the undersigned

 off, stating (id. at 19-20):

              THE COURT: Sir, I’m not going to stay the proceedings. It’s
        denied. Otherwise if –

               MR. SUSSELMAN: But you – so, you’re making a decision –

               THE COURT: - you – you –

               MR. SUSSELMAN: - without hearing my oral argument. Is that
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       what you’re saying?

              THE COURT: Sir, I’m not gonna stay the proceedings.
                   Go ahead, Mr. Krichbaum.

       There is no question anymore that Judge Connors has been informed, and has

 been provided the documentation proving, that Selby and Wilson committed perjury

 and the subornation of perjury in his courtroom on the day of trial – perjury and

 subornation of perjury which were facilitated by his refusal to adjourn the trial to

 allow Evans to find a new attorney. Yet he continues to refuse to acknowledge that

 this occurred, and continues to grant Krichbaum’s motions requiring Evans to pay

 him attorney fees which are the product of a Judgment procured by perjury and the

 subornation of perjury. This constitutes circumstantial evidence he is, and was, so

 entangled with the misconduct of Selby and Wilson as to qualify them as state actors.

       Defendants’ assertion that Plaintiffs have failed adequately to plead the con-

 spiracy claim in Count IV is spurious. “[W]e have recognized that ... ‘conspiracies

 are by their very nature secretive operations,’ and may have to be proven by circum-

 stantial, rather than direct, evidence.” Pangburn v. Culbertson, 200 F.3d 65, 73 (2d

 Cir. 1999). “Circumstantial evidence may provide adequate proof of the existence

 of such a conspiracy.” Haffner v. Brown, 983 F.2d 570, 577 (4th Cir. 1992). “The

 dates on which the particular defendants joined the conspiracy are not alleged, but

 that is not the kind of information that a plaintiff can be expected to have when she

 files her complaint.” Loubser v. Thacke, 440 F.3d 439, 443 (7th Cir. 2006). In
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 Burkhardt v. United States, 13 F.2d 841, 842 (6th Cir. 1926), the Court observed:

       It is fundamental that a conspiracy need not be established by direct
       evidence of an unlawful agreement. Its existence may be shown by
       proof of facts from which the logical inference is that the unlawful overt
       acts were committed in furtherance of a common design of the alleged
       conspirators. ... Participation in the formation of the conspiracy was not
       essential ... to culpability. If, after it was formed, [the governmental of-
       ficer] aided or abetted it with an understanding of its purpose, he be-
       came a party to it. The rule of acquiescence in or failure to prevent
       a conspiracy or criminal act is not sufficient to render one liable ...
       does not apply in every circumstance to one whose duty it is under
       the law to prevent the act. [A]cquiescence may amount to purpose-
       ful furtherance; it may be the deliberate removal of an otherwise
       troublesome obstacle from the path of the law violator and thus be-
       come affirmative cooperation. (Emphasis added; citations omitted).

       Plaintiffs’ claim against Wilson and Howard & Howard under 42 U.S.C.

 §1983, contrary to their assertion, is not impaled on the horns of a dilemma. It has

 been adequately pled to survive their Rule 12(b)(6) motion.

 IV.   THE PENDENT STATE CLAIMS HAVE BEEN PROPERLY PLED.

       Plaintiffs have pled three pendent state claims against Wilson and Howard &

 Howard. They will only survive if Count IV survives. If Count IV survives, the

 pendent state claims have been adequately pled.

       A.    The State Civil Conspiracy Claim Has Been Adequately Pled.

       Defendants assert that there can be no unlawful conspiracy “without the com-

 mission of acts causing damage.” Obviously. Here, the damage is obtaining a judg-

 ment based on perjury which can be enforced by requiring payments pursuant to the

 judgment. Defendants’ citation of Matley v. Matley, 243 Mich. App. 100 (Mich. Ct.
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 App. 200) is inapposite, since, as argued in Argument III, Judge Connors did know

 the facts constituting the fraud on the court, i.e., the perjury which contradicted the

 Stipulation which had been attached to the motion in limine, but Evans could do

 nothing to prevent it, since she was not represented by an attorney to make an ob-

 jection to the perjury, and she was not allowed to represent herself, so the perjury

 was not known by both parties – Meadowlark and Evans – when it occurred during

 the trial. Moreover, there was no way that Evans could bring “the fraud to the atten-

 tion of the first court” because she was not allowed to represent herself, and therefore

 could not have made an objection to the perjury even if she had attended the trial.

       Defendants’ contention that Evans could have sought relief from judgment

 pursuant to MCR 2.61(C)(1)(c) is specious, since such a motion would have had to

 have been assigned to Judge Connors, who, as demonstrated by what occurred at the

 hearing quoted from in Argument III, would have refused to acknowledge that any

 perjury had occurred. The right to seek relief from judgment under the Michigan

 court rule, did not preempt Plaintiffs’ right to seek that relief in federal court under

 42 U.S.C. §1983. See Mitchum v. Foster, 407 U.S. 225 (1972). The state conspiracy

 claim is therefore adequately pled to survive Defendants’ Rule 12(b)(6) motion.

       B.     The Statutory Conversion Claim Has Been Adequately Pled.

       If Count IV survives, then the claim that the Judgment was procured by the

 perjury and subornation of perjury by Selby and Wilson survives, in which case all


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 of the monies which Evans was forced to pay Meadowlark, including Wilson’s at-

 torney fees, have been unlawfully converted. On p. 23, Defendants state, “The ob-

 vious flaw in Plaintiffs’ statutory conversion claim is that Evans paid Meadowlark

 all of the sums of money which she claims were converted.” (Italics in the original.)

 This is only true of the down-payment she paid Meadowlark prior to their beginning

 the home improvement. Everything else she paid pursuant to a fraudulent Judgment,

 all of which was unlawfully converted, including the interest on the disability pay-

 ment which Wilson garnished in violation of Michigan law.

       C.     Plaintiffs Have Pled A Viable Claim For Intentional Infliction Of
              Emotional Distress.

       The claim of intentional infliction of emotional distress has been adequately

 pled. The Defendants were not insisting on their legal rights in a permissible way

 when Wilson suborned perjury in order to obtain the Judgment; when he advised

 Meadowlark not to accept the cashiers checks which Evans and Welch brought to

 Meadowlark’s offices to pay off the construction lien in order to avoid the sale of

 Evans’ home scheduled to occur at the sheriff’s sale the next day; when he advised

 Meadowlark’s employees not to give Evans a receipt for the payment; or when Ven-

 este, another Howard & Howard attorney, threatened to sue Evans and Welch for

 defamation if they failed to retract the true statements they were making about Mead-

 owlark’s shabby work and Selby’s dishonesty. All of these actions, taken together,



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 would cause an average member of the community to exclaim, “Outrageous!” See

 Margita v. Diamond Mortgage Corp., 159 Mich. App. 181 (Mich. Ct. App. 1987).

                           CONCLUSION AND RELIEF

       The Defendants would have this Court believe this is a routine case involving

 a feckless and pertinacious Plaintiff who simply won’t accept that justice has already

 been done, that she legitimately lost a breach of contact case in a Michigan state

 court, and that she has come to this Court out of a deluded belief that she has been

 wronged, that she is no more than a state court loser seeking to undo a just decision

 obtained in a state court, a decision which has been thoroughly reviewed by the ap-

 pellate courts of Michigan, and therefore beyond consideration by this Court.

       But that is not what this case is about. Emily Evans is burdened for the rest of

 her life by a debt exceeding $100,000 – a debt that it will take the rest of her life to

 pay off, if she lives long enough; a debt which keeps growing because the judge who

 presided over the trial refuses to acknowledge, even today, despite the documentary

 and testimonial proof which has been laid before him, that the Judgment which he

 issued was obtained in his courtroom by a witness who committed perjury, suborned

 by his attorney. By virtue of that perjury and its subornation, Emily Evans is bur-

 dened with that debt for the rest of her life, simply because she refused to agree that

 she owed Selby’s home improvement company money for allegedly breaching a

 contract she never signed, and refusing to pay money for work which was never


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 done. The fact that Selby committed perjury, suborned by Wilson, has never been

 reviewed by a Michigan appellate court, because it was never raised, and under

 Michigan procedural law, could not be raised on appeal, because no one in the court-

 room on October 2, 2017, objected to the introduction of that perjurious testimony,

 because there was no one in that courtroom representing the legal interests of Emily

 Evans, due to the decision by Judge Connors to proceed with the jury trial rather

 than afford Evans time to obtain a new attorney. As demonstrated above, neither the

 Rooker-Feldman doctrine nor collateral estoppel bars this lawsuit.

       On October 2, 2017, Douglas Selby took an oath in a Michigan state court to

 tell the truth, the whole truth, and nothing but the truth. On that date, in a Michigan

 court of law, he violated that oath, by testifying that a five-page document was the

 contract which Evans agreed to, when he had previously signed a legal document,

 approved as to form and substance, admitting that the five-page document was not

 the contract which Emily Evans had agreed to, and that that five-page document, and

 the change orders accompanying it, violated Michigan law, and therefore under

 Michigan law were void and unenforceable. When Douglas Selby offered that tes-

 timony, at the invitation of his attorney, Brandon Wilson, Selby lied, prevaricated

 and committed perjury – all at the invitation of his attorney, Brandon Wilson, an

 officer of the court.

       If the Defendants are correct, that that patently unjust Judgment cannot be


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 undone in a federal court – that a witness can be allowed to lie under oath at the

 invitation of his attorney, an officer of the court, with impunity, then we have no

 need of courts, federal or otherwise. We may as well close the doors of all the courts

 in this country, because they are operating under a falsehood – that the courts are the

 last refuge for truth in this country, the place where truth and justice are served. And

 the citizens of this country should instead be left to the barbarism of their own re-

 sources to resort to obtaining justice by self-help.

       Emily Evans believes, and fervently hopes she can continue to believe, that

 this vision of how the courts in this country operate is a distortion, that that is not

 how they operate and not how they are supposed to operate. She is hopeful that

 justice will, finally, actually prevail in this Court, and that this Court, recognizing

 the gross injustice which occurred in the Washtenaw County Circuit Court due to

 perjury and the subornation of perjury, will deny the motion to dismiss filed by How-

 ard & Howard and a former partner of that law firm, Brandon Wilson, an officer of

 the court, an officer of the court who, on October 2, 2017, irrefutably suborned per-

 jury in a Michigan state court in order to win a lawsuit.

                             Fiat Justitia ruat caelum.

                                                Respectfully submitted,

                                                  /s/ Marc M. Susselman
                                                Marc M. Susselman
 Dated June 17, 2021                            Attorney for Plaintiffs

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                           CERTIFICATE OF SERVICE

       I hereby certify that on June 17, 2021, I electronically filed with the Clerk of

 the Court the foregoing document using the CM/ECF system which will send noti-

 fication of such filing to all counsel of record.

                                                 /s/ Marc M. Susselman (P29481)
                                                 Marc M. Susselman
                                                 Attorney for Plaintiffs




                                            66
